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                      UNITED STATES DISTRICT COURT FOR THE EASTERN
                                DISTRICT OF PENNSYLVANIA

ANTERINE MAPLE, as Administratrix of the            :
Estate of Kevin George, Jr. deceased, the Estate    :
of Zion George, deceased, and in her own right;     :   No.   2:22-cv-2039
DESTINY DELUCA; and AMIR HARRIS                     :
                                                    :
                                  Plaintiffs        :
                 v.                                 :
                                                    :
DELAWARE DEPARTMENT OF NATURAL                      :
RESOURCES AND ENVIRONMENTAL                         :
CONTROL – DIVISION OF WATERSHED                     :
STEWARDSHIP; FRANK M. PIORKO, in his                :
individual capacity and as an agent of the          :
Delaware Department of Natural Resources and        :
Environmental Control – Division of Watershed       :
Stewardship; TERRY L. DEPUTY, in his                :
individual capacity and as an agent of the          :
Delaware Department of Natural Resources and        :
Environmental Control – Division of Watershed       :
Stewardship; MICHAEL S. POWELL, in his              :
individual capacity and as an agent of the          :
Delaware Department of Natural Resources and        :
Environmental Control – Division of Watershed       :
Stewardship; JESSE HAYDEN, in his individual        :
capacity and as an agent of the Delaware            :
Department of Natural Resources and                 :
Environmental Control – Division of Watershed       :
Stewardship; SCOTT FIGURSKI, in his                 :
Individual capacity and as an agent of the          :
Delaware Department of Natural Resources and        :
Environmental Control – Division of Watershed       :
Stewardship; CHARLES E. WILLIAMS, II,               :
in his individual capacity and as an agent of the   :
Delaware Department of Natural Resources and        :
Environmental Control – Division of Watershed       :
Stewardship; STEVE WILLIAMS, in his                 :
individual capacity and as an agent of the          :
Delaware Department of Natural Resources and        :
Environmental Control – Division of Watershed       :
Stewardship; DELAWARE DEPARTMENT                    :
OF NATURAL RESOURCES AND                            :
ENVIRONMENTAL CONTROL – DIVISION                    :
OF PARKS AND RECREATION;                            :
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RAY BIVENS, in his individual capacity and           :
as an agent of the Delaware Department of            :
Natural Resources and Environmental Control –        :
Division of Parks and Recreation;                    :
GRANT MELVILLE in his individual capacity            :
and as an agent of the Delaware Department of        :
Natural Resources and Environmental Control          :
– Division of Parks and Recreation;                  :
MATTHEW RITTER in his individual capacity            :
 and as an agent of the Delaware Department of       :
Natural Resources and Environmental Control –        :
Division of Parks and Recreation;                    :
MANSON CONSTRUCTION COMPANY;                         :
and KINGFISHER ENVIRONMENTAL                         :
SERVICES, INC.                                       :
                                                     :
                                   Defendants        :
                                                     :

                                      COMPLAINT - CIVIL ACTION

         AND NOW come the plaintiffs, by and through counsel, and demand of the defendants,

jointly and severally, damages for loss sustained, plus interest, costs and damages for

prejudgment delay upon the causes of action set forth in the following:


                                       JURISDICTION AND VENUE

         1.         This Court maintains jurisdiction pursuant to 28 U.S.C. § 1331 upon a basis that claims

asserted arise under the Constitution and laws of the United States.

         2.         This Court maintains jurisdiction pursuant to 28 U.S.C. § 1332 upon a basis that the matter

in controversy exceeds that statutory threshold and the dispute upon which the claims arise are between

citizens of different states.

         3.         This Court maintains jurisdiction pursuant to 28 U.S.C.S. § 1343 upon a basis that claims

are asserted to redress the deprivation, under color of any State law, statute, ordinance, regulation, custom or

usage, of any right, privilege or immunity secured by the Constitution of the United States or by any Act of

Congress providing for equal rights of citizens or of all persons within the jurisdiction of the United States


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         4.          Plaintiff further invokes supplemental jurisdiction pursuant to 28 U.S.C. § 1367 for claims

arising under state law as these claims form part of the same case and controversy of claims initiated.

         5.          Venue of this matter is properly laid in this judicial district pursuant to 28 U.S.C. § 1391(d)

upon the basis that claims are asserted against corporations which purposely availed themselves to the benefits

of this judicial district, reside in this judicial district, and/or are subject to personal jurisdiction within this

judicial district.


                                 THE PARTIES AND RELATED ENTITIES

         6.          Plaintiffs incorporate by reference the previous paragraphs of the Complaint as if set forth

fully hereto.

         7.          Plaintiff Anterine Maple is an adult individual residing 4513 N. 20th Street, Philadelphia, PA

19140 and the natural mother of Kevin George, Jr., decedent and Zion George, decedent. Plaintiff Anterine

Maple has been duly appointed to serve as the Administratrix of the Estates of Kevin George, Jr., decedent,

and Zion George, decedent, by the Office of the Philadelphia County Register of Wills.

         8.          Plaintiff Destiny Deluca is an adult individual residing 338 N. 41st Street, Apt. 4R,

Philadelphia, PA 19104.

         9.          Plaintiff Amir Harris is an adult individual residing 4804 N. Bouvier Street, Philadelphia,

PA 19141.

         10.         Defendant Delaware Department of Natural Resources and Environmental Control –

Division of Watershed Stewardship (hereinafter “DNREC – Division of Watershed Stewardship”) is an

agency and instrumentality of the State of Delaware created to provide, among others, core services relating to

the managing and maintaining of public beaches, land, parks, natural resources, wildlife areas and improving

Delaware’s navigable waterways. Defendant DNREC – Division of Watershed Stewardship operates with a

principal place of business and registered office for process of service located at The Richardson and Robbins



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Building, 89 Kings Highway, Dover, DE 19901. At all material times relevant hereto, defendant DNREC –

Division of Watershed Stewardship acted by and through its duly authorized employees, agents, workers

and/or representatives acting within the scope of their employment.

        11.       Defendant Frank M. Piorko is an adult individual who maintains an address for the

service of process located 33653 E Hunters Run, Lewes, Delaware 19958-4844. Upon information and

belief, at all relevant times material hereto, defendant Frank M. Piorko was an agent, servant, and

employee of defendant DNREC – Division of Watershed Stewardship. Upon information and belief,

at all relevant times material hereto, defendant Frank M. Piorko served as the Division Director

of the DNREC – Division of Watershed Stewardship. At all relevant times material hereto, defendant

Frank M. Piorko was operating under the color of state law, local law, regulations, policies and

usages of the state of Delaware DNREC – Division of Watershed Stewardship within the course

and scope of his employment with defendant DNREC – Division of Watershed Stewardship. This

action is brought against defendant Frank M. Piorko in both his corporate and individual capacities.

        12.       Defendant Terry L. Deputy is an adult individual who maintains an address for the

service of process located at The Richardson and Robbins Building, 89 Kings Highway, Dover, DE 19901.

Upon information and belief, at all relevant times material hereto, defendant Terry L. Deputy

was an agent, servant, and employee of defendant DNREC – Division of Watershed Stewardship.

Upon information and belief, at all relevant times material hereto, defendant Terry L. Deputy

served as the Division Director of the DNREC – Division of Watershed Stewardship. Upon

information and belief, at all relevant times material hereto, defendant Terry L. Deputy was

operating under the color of state law, local law, regulations, policies and usages of the state of

DNREC – Division of Watershed Stewardship within the course and scope of his employment with




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defendant DNREC – Division of Watershed Stewardship. This action is brought against defendant Terry L.

Deputy in both his corporate and individual capacities.

        13.        Defendant Michael S. Powell is an adult individual who maintains an address for the

service of process located at The Richardson and Robbins Building, 89 Kings Highway, Dover, DE 19901.

Upon information and belief, at all relevant times material hereto, defendant Michael S. Powell

was an agent, servant, and employee of defendant DNREC – Division of Watershed Stewardship.

Upon information and belief, at all relevant times material hereto, defendant Michael S. Powell

served as an Environmental Program Manager/Administrator of the DNREC – Division of

Watershed Stewardship. Upon information and belief, at all relevant times material hereto,

defendant Michael S. Powell was operating under the color of state law, local law, regulations,

policies and usages of the state of Delaware DNREC – Division of Watershed Stewardship

within the course and scope of his employment with defendant DNREC – Division of Watershed

Stewardship. This action is brought against defendant Michael S. Powell in both his corporate and

individual capacities.

        14.        Defendant Jesse Hayden is an adult individual who maintains an address for the

service of process located at The Richardson and Robbins Building, 89 Kings Highway, Dover, DE 19901.

Upon information and belief, at all relevant times material hereto, defendant Jesse Hayden was an agent,

servant, and employee of defendant Delaware Department of Natural Resources and Environmental

Control – Division of Watershed Stewardship. Upon information and belief, at all relevant times material

hereto, defendant Jesse Hayden served as an Engineer Program Manager of the DNREC – Division of

Watershed Stewardship. Upon information and belief, at all relevant times material hereto, defendant Jesse

Hayden was operating under the color of state law, local law, regulations, policies and usages of

the state of Delaware DNREC – Division of Watershed Stewardship within the course and scope




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of his employment with defendant DNREC – Division of Watershed Stewardship. This action is brought

against defendant Jesse Hayden in both his corporate and individual capacities.

        15.       Defendant Scott Figurski is an adult individual who maintains an address for the

service of process located at The Richardson and Robbins Building, 89 Kings Highway, Dover, DE 19901.

Upon information and belief, at all relevant times material hereto, defendant Scott Figurski was

an agent, servant, and employee of defendant DNREC – Division of Watershed Stewardship. Upon

information and belief, at all relevant times material hereto, defendant Scott Figurski served as

an Environmental Program Manager of the DNREC – Division of Watershed Stewardship. Upon

information and belief, at all relevant times material hereto, defendant Scott Figurski was

operating under the color of state law, local law, regulations, policies and usages of the state of

Delaware DNREC – Division of Watershed Stewardship within the course and scope of his

employment with defendant DNREC – Division of Watershed Stewardship. This action is brought

against defendant Scott Figurski in both his corporate and individual capacities.

        16.       Defendant Charles E. Williams, II is an adult individual who maintains an address

for the service of process located at The Richardson and Robbins Building, 89 Kings Highway, Dover, DE

19901. Upon information and belief, at all relevant times material hereto, defendant Charles E.

Williams, II was an agent, servant, and employee of defendant DNREC – Division of Watershed

Stewardship. Upon information and belief, at all relevant times material hereto, defendant Charles

E. Williams, II served as an Environmental Program Manager of the Delaware Department of

Natural Resources and Environmental Control – Division of Watershed Stewardship. Upon information

and belief, at all relevant times material hereto, defendant Charles E. Williams, II was operating

under the color of state law, local law, regulations, policies and usages of the state of Delaware

DNREC – Division of Watershed Stewardship within the course and scope of his employment




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with defendant DNREC – Division of Watershed Stewardship. This action is brought against defendant

Charles E. Williams, II in both his corporate and individual capacities.

        17.        Defendant Steve Williams is an adult individual who maintains an address for the

service of process located at The Richardson and Robbins Building, 89 Kings Highway, Dover, DE 19901.

Upon information and belief, at all relevant times material hereto, defendant Steve Williams was

an agent, servant, and employee of defendant DNREC – Division of Watershed Stewardship. Upon

information and belief, at all relevant times material hereto, defendant Steve Williams served as an

Environmental Program Manager of the Delaware Department of Natural Resources and Environmental

Control – Division of Watershed Stewardship.         Upon information and belief, at all relevant times

material hereto, defendant Steve Williams was operating under the color of state law, local law,

regulations, policies and usages of the state of Delaware DNREC – Division of Watershed

Stewardship within the course and scope of his employment with defendant DNREC – Division of

Watershed Stewardship. This action is brought against defendant Steve Williams in both his corporate and

individual capacities.

        18.        Defendant Delaware Department of Natural Resources and Environmental Control –

Division of Parks and Recreation (hereinafter “DNREC – Division of Parks and Recreation”) is an agency and

instrumentality of the State of Delaware created to provide, among others, core services relating to the

managing and maintaining of Delaware’s public lands and beaches. Defendant DNREC – Division of Parks

and Recreation operates with a principal place of business and registered office for process of service located at

The Richardson and Robbins Building, 89 Kings Highway, Dover, DE 19901. At all material times relevant

hereto defendant DNREC – Division of Parks and Recreation acted by and through its duly authorized

employees, agents, workers and/or representatives acting within the scope of their employment.

        19.        Defendant Ray Bivens is an adult individual who maintains an address for the service of




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process located at The Richardson and Robbins Building, 89 Kings Highway, Dover, DE 19901. Upon

information and belief, at all relevant times material hereto, defendant Ray Bivens was an agent,

servant, and employee of defendant DNREC – Division of Parks and Recreation. Upon information

and belief, at all relevant times material hereto, defendant Ray Bivens served as the Director of the

DNREC – Division of Parks and Recreation. Upon information and belief, at all relevant times

material hereto, defendant Ray Bivens was operating under the color of state law, local law,

regulations, policies and usages of the state of DNREC – Division of Parks and Recreation –within the

course and scope of his employment with defendant DNREC – Division of Parks and Recreation. This

action is brought against defendant Ray Bivens in both his corporate and individual capacities.

        20.        Defendant Grant Melville is an adult individual who maintains an address for the service of

process located at The Richardson and Robbins Building, 89 Kings Highway, Dover, DE 19901. Upon

information and belief, at all relevant times material hereto, defendant Grant Melville was an agent, servant,

and employee of defendant DNREC – Division of Parks and Recreation. At Upon information and belief, at

all relevant times material hereto, defendant Grant Melville served as a Section Administrator of the DNREC

– Division of Parks and Recreation. Upon information and belief, at all relevant times material hereto,

defendant Grant Melville was operating under the color of state law, local law, regulations, policies and usages

of the state of Delaware Department of Natural Resources and Environmental Control – Division of Parks and

Recreation within the course and scope of his employment with defendant DNREC – Division of Parks and

Recreation. This action is brought against defendant Grant Melville in both his corporate and individual

capacities.

        21.        Defendant Matthew Ritter is an adult individual who maintains an address for the service of

process located at The Richardson and Robbins Building, 89 Kings Highway, Dover, DE 19901. Upon

information and belief, at all relevant times material hereto, defendant Matthew Ritter was an agent, servant,




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and employee of defendant DNREC – Division of Parks and Recreation. Upon information and belief, at all

relevant times material hereto, defendant Matthew Ritter served as a Section Administrator of the DNREC –

Division of Parks and Recreation. Upon information and belief, at all relevant times material hereto, defendant

Matthew Ritter was operating under the color of state law, local law, regulations, policies and usages of the

state of Delaware Department of Natural Resources and Environmental Control – Division of Parks and

Recreation within the course and scope of his employment with defendant DNREC – Division of Parks and

Recreation. This action is brought against defendant Matthew Ritter in both his corporate and individual

capacities.

        22.        Defendant Manson Construction Company is a business entity for profit established

pursuant to the laws of the State of Washington with a principal place of business located 5209 E. Marginal

Way S., Seattle, Washington. At all relevant times material hereto, defendant Manson Construction was a

marine contractor whose business operations included, among others, the dredging and renourishment

of beaches. At all relevant times material hereto, defendant Manson Construction was acting as a

corporation or other business entity by and through the acts of its authorized agents, ostensible

agents, servants, workman and/or employees within and during the course and scope of their

employment, authority or apparent authority. At all relevant times material hereto, defendant Manson

Construction engaged in substantial, continuous, regular and systematic business in State of Delaware.

        23.        Defendant Kingfisher Environmental Services, Inc. is a business entity for profit established

pursuant to the laws of the state of Maryland with a principal place of business located 3002 Singerly Road,

Elkton, MD 21921. At all relevant times material hereto, defendant Kingfisher was in the business of

providing services including, among others, the dredging and renourishment of beaches. At all relevant times

material hereto, defendant Kingfisher was acting as a corporation or other business entity by and

through the acts of its authorized agents, ostensible agents, servants, workman and/or employees




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within and during the course and scope of their employment, authority or apparent authority. At all

relevant times material hereto, defendant Kingfisher engaged in substantial, continuous, regular and systematic

business in State of Delaware.


                                      GENERAL ALLEGATIONS

         24.      Plaintiffs incorporate by reference the previous paragraphs of the Complaint as if set forth

fully herein.

                  The Lure of Decedents Kevin George, Jr. and Zion George to
                                     South Bowers Beach
         25.     Born July 25, 1988, Kevin George, Jr., decedent, was thirty-one (31) years old on June 30,

2020.

         26.     Born June 17, 2000, Zion George, Jr., decedent, was twenty (20) years old on June 30, 2020.

         27.     On June 30, 2020, plaintiff’s decedent Kevin George, Jr. and Destiny Deluca viewed an

online website advertising Bowers Beach located in the State of Delaware.

         28.     The online website advertisement viewed by plaintiff’s decedent Kevin George, Jr. and

Destiny Deluca characterized Bowers Beach as a choice beach vacation destination.

         29.     On June 30, 2020, attracted by and relying upon the website advertising Bowers Beach as a

choice beach vacation destination, plaintiff’s decedent Kevin George, Jr., Destiny DeLuca, and Amir Harris

made reservations to stay overnight in a hotel located in or around Bowers Beach.

         30.     On June 30, 2020, attracted by and relying upon the website advertising Bowers Beach as a

choice beach vacation destination, plaintiff’s decedents Kevin George, Jr., and Zion George, along with

Destiny DeLuca and Amir Harris drove from Philadelphia, PA to enjoy the Bowers Beach environment.

         31.     Bowers Beach is beach located in Kent County, Delaware, situated on the Delaware Bay

north of the Murderkill River.

         32.     South Bowers Beach is located in Kent County, Delaware, situated on the Delaware Bay


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south of the Murderkill River.




                 MAP DEPICTING THE MURDERKILL RIVER, SOUTH BOWERS BEACH, AND
                 THE DELAWARE BAY



        33.      On or about June 30, 2020, plaintiff’s decedents Kevin George, Jr. and Zion George, along

with Destiny DeLuca, and Amir Harris relied upon Global Positioning System (GPS) to guide their travel to

Bowers Beach.

        34.      Relying upon the Global Positioning System (GPS), plaintiff’s decedents Kevin George, Jr.

and Zion George, along with Destiny DeLuca, and Amir Harris were guided to South Bowers Beach.

        35.      On June 30, 2020, at or about 2:00 p.m., plaintiff’s decedents Kevin George, Jr. and Zion

George, along with Destiny DeLuca, and Amir Harris arrived in the vicinity of South Bowers Beach.

        36.      Upon arrival in the vicinity of South Bowers Beach, plaintiff’s decedents Kevin George, Jr.

and Zion George, along with Destiny DeLuca, and Amir Harris selected a location on the South Bowers

Beach, set their beach gear on the beach and prepared to enjoy the day.

        37.      On June 30, 2020, South Bowers Beach presented as a well-groomed and well-maintained

public beach.

        38.      On June 30, 2020, no signs providing a warning or notice that South Bowers Beach was




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closed to the public were posted in a conspicuous place in or around the vicinity of South Bowers Beach.

        39.      On June 30, 2020, no signs providing a warning or notice that swimming was not permitted

at South Bowers Beach were posted in a conspicuous place in or around the vicinity of South Bowers Beach.

        40.      On June 30, 2020, no signs providing a warning or notice that, due to the variance in velocity

of the water’s current during the tide change caused by dredging operations, swimming was hazardous at

South Bowers Beach were posted in a conspicuous place in or around the vicinity of South Bowers Beach.

        41.      On June 30, 2020, no signs providing a warning or notice to any known dangerous condition

of the Murderkill River waterway or South Bowers Beach were posted in a conspicuous place in the vicinity

or on South Bowers Beach.


                                            Murderkill River Facts
        42.      The Murderkill River is a river located in the state of Delaware flowing towards emptying

into the Delaware Bay.

        43.      The Murderkill River is tidally influenced from its mouth and upstream to just past the Town

of Frederica, Delaware.

        44.      The Murderkill River is considered by the U.S. Army Corps of Engineers to be navigable for

the lower 10 miles (16 km) of its course.

        45.      The Murderkill River entrance channel along Delaware Bay is roughly funnel shaped

over a large part of its domain.

        46.      In the calendar year of 1968, defendant DNREC – Division of Watershed Stewardship

undertook state-managed dredging operations of five (5) inland channels, including the Murderkill River

estuary entrance channel along Delaware Bay, in Delaware, which over time developed into a comprehensive

waterway management program.




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        47.     On December 6, 2013, The United States Army Corps of Engineers issued permit number

CENAP-OP-R-2013-1033023 to the defendant DNREC – Division of Watershed Stewardship to undertake a

state-managed hydraulic maintenance dredging of the Murderkill River estuary entrance channel along

Delaware Bay, Bowers Beach and South Bowers Beach, Kent County, Delaware and conduct beach

nourishment activities along the shoreline of South Bowers Beach, among others.

        48.     Permit number CENAP-OP-R-2013-1033023 authorized the defendant DNREC – Division

of Watershed Stewardship to conduct maintenance dredging of the Murderkill River estuary entrance channel

along Delaware Bay, Bowers Beach and South Bowers Beach, Kent County, Delaware for a period of ten

(10) years to terminate December 31, 2024.


          Defendant Manson Construction Company’s Dredging of The Murderkill
                River Estuary Entrance Channel in the Calendar Year 2014

        49.     In or about the calendar year of 2014, the defendant DNREC – Division of Watershed

Stewardship contracted with defendant Manson Construction to undertake a dredging operation of the

Murderkill River estuary entrance channel and the Murderkill River.

        50.     Pursuant to the terms of the government contract, during the time period of January 26, 2014,

through February 18, 2014, defendant Manson Construction dredged the Murderkill River estuary entrance

channel along Delaware Bay, removing Forty-Five Thousand (45,000) cubic yards of dredged material, and

dedicated the dredged material to nourish the shoreline of South Bowers Beach.

        51.     The dredging operation undertaken by defendant Manson Construction during the time

period of January 26, 2014, through February 18, 2014, significantly increased the depth of the Murderkill

River estuary entrance channel to the Delaware Bay.




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        52.      The increased channel depth in the Murderkill River estuary channel created by defendant

Manson Construction’s 2014 dredging operation significantly altered the physics of the estuary and

caused the velocity of the movement of the water during tide change to be amplified at South

Bowers Beach near the Murderkill River estuary.

        53.      The increased velocity of the water’s current realized at South Bowers Beach near the

Murderkill River estuary during the tide change as a result of defendant Manson Construction’s 2014 dredging

operation created a dangerous and unreasonable hazard to unsuspecting recreational swimmers at South

Bowers Beach.


            Defendant Kingfisher Environmental Services, Inc.’s Dredging of The
           Murderkill River Estuary Entrance Channel in The Calendar Year 2015

        54.      On or about May 20, 2015, defendant DNREC – Division of Watershed Stewardship

contracted with defendant Kingfisher Environmental Services, Inc. to undertake a dredging operation of the

Murderkill River estuary entrance channel and the Murderkill River.

        55.      On or about June 11, 2015, through November 18, 2015, defendant Kingfisher

Environmental Services, Inc. dredged the Murderkill River estuary entrance channel along Delaware Bay,

removing Forty-Five Thousand (45,000) cubic yards of dredged material, and dedicated the dredged material

to nourish the shoreline of South Bowers Beach and extend the jetty north of the Murderkill River.

        56.      The 2015 dredging operation undertaken by defendant Kingfisher Environmental Services,

Inc. significantly increased the depth of the Murderkill River estuary entrance channel to the Delaware Bay.

        57.      The increased channel depth in the Murderkill River estuary channel created by defendant

Kingfisher Environmental Services, Inc.’s 2015 dredging operation significantly altered the physics of the

estuary and caused the velocity of the movement of the water during tide change to be amplified at South

Bowers Beach near the Murderkill River estuary.




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          58.    The increased velocity of the water’s current realized at South Bowers Beach near the

Murderkill River estuary during the tide change as a result of the defendant Kingfisher Environmental

Services, Inc.’s dredging operation created a dangerous and unreasonable hazard to unsuspecting recreational

swimmers at South Bowers Beach.



                         The June 30, 2020, Drowning Deaths of Decedents
                               Kevin George, Jr. and Zion George

          59.    On June 30, 2020, at or about 2:47 p.m., the Murderkill River estuary channel at the mouth of

the Delaware Bay abutting South Bowers Beach presented, what appeared to the unsuspecting beach goer as

calm water safe for recreational swimming.

          60.    On June 30, 2020, at or about 2:47 p.m., the Murderkill River estuary channel at the mouth of

the Delaware Bay and the Murderkill River abutting South Bowers Beach presented no visible signs of

danger.

          61.    On June 30, 2020, at or about 2:47 p.m., Kevin George, Jr., Zion George, Jr., and Amir Harris

entered the intertidal of the Delaware Bay at South Bowers Beach in a location south of the sand bar jetty

appearing at the Murderkill River’s mouth of the Delaware Bay and swam in the northbound direction to the

shallower waters of the sand bar jetty.

          62.    On June 30, 2020, at or about 2:47 p.m., Kevin George, Jr., Zion George, Jr., and Amir Harris

reached the sand bar jetty at the Murderkill River’s mouth of the Delaware Bay.

          63.    On June 30, 2020, at or about 2:47 p.m., unsuspecting of any danger and with the intent to

leisurely swim in the water Kevin George, Jr., Zion George, Jr., and Amir Harris continued north of the sand

bar jetty and into the Murderkill River’s mouth of the Delaware Bay.




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         64.      Mr. Michael Hignutt, the Assistant Chief of South Bowers Beach Fire Company, along with

Mr. Timothy Smith, were fishing from the bank of the Murderkill River in the area of the sand bar jetty at the

mouth of the Delaware Bay and observed the three (3) men enter the water at the Murderkill River’s mouth of

the Delaware Bay.

         65.      Upon entering the Murderkill River’s mouth of the Delaware Bay Kevin George, Jr., Zion

George, Jr., and Amir Harris unexpectedly found the shallower water of the sand bar jetty suddenly dropped-

off at an underwater ledge to a depth of water descending in excess of some seven (7) feet.

         66.      As a result of the sudden drop-off of the depth of the water of the Murderkill River, Kevin

George, Jr., Zion George, Jr., and Amir Harris found themselves unexpectedly in a water depth over their

heads with their bodies being pulled under the water and into the Murderkill River away from the shoreline by

the strong tidal current.

         67.      Kevin George, Jr., Zion George, Jr., and Amir Harris screamed in distress as they struggled to

surface against the force of the tide which pulled their bodies under the water’s surface and away from the

shoreline.

         68.      Destiny Deluca heard Kevin George, Jr., Zion George, Jr., and Amir Harris screaming in

distress from her location on the beach.

         69.      In a state of hysteria, Destiny Deluca ran from her location on the beach in the direction of the

sand bar jetty and entered the water of the Murderkill River north of the sand bar jetty at the mouth of the

Delaware Bay with an intent to rescue Kevin George, Jr., Zion George, Jr., and Amir Harris.

         70.      The strong tidal current immediately pulled her body under the surface of the water and into

the Murderkill River away from the shoreline.

         71.      Destiny Deluca soon fatigued, found herself struggling to save herself from drowning.

         72.      Amir Harris was able to reach the shoreline and save himself from drowning where he was




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attended to by Firefighter Michael Hignutt.

         73.       Destiny Deluca was able to reach the shoreline and save herself from drowning where she

was attended to by Firefighter Michael Hignutt.

         74.       On June 30, 2020, a six (6) hour search mission for Kevin George, Jr., and Zion George, Jr.

spanning the time of 3:00 p.m. to 9:00 p.m. was undertaken by multiple police, fire, maritime and paramedic

agencies that responded to the area.

         75.       The search mission undertaken June 30, 2020, was called off by authorities due to darkness.

         76.       On the morning of July 1, 2020, the search and recovery mission resumed morning, with

brothers Kevin George, Jr., and Zion George, Jr. presumed dead.

         77.       On July 1, 2020, at 10:30 a.m., searchers found the bodies of Kevin George, Jr. and

Zion George in the Murderkill River close to where they had been last seen in the water.


             SURVIVORS OF DECEDENTS KEVIN GEORGE, JR AND ZION GEORGE

         78.       Plaintiff Anterine Maple incorporates by reference the previous paragraphs of the Complaint

as if set forth fully herein.

         79.       Decedent Kevin George, Jr. has left the following beneficiaries surviving him:

                   (a)          Plaintiff Anterine Maple, parent.

                   (b)          Kevin George, Sr., parent

         80.       Decedent Zion George has left the following beneficiaries surviving him:

                   (a)          S.Z., a minor

                   (b)          Plaintiff Anterine Maple, parent.

                   (c)          Kevin George, Sr., parent

         81.       There have been no actions brought by the plaintiff’s decedents during their lifetime upon the

allegations set forth within the body of this Complaint.



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                           FIRST CAUSES OF ACTION - WRONGFUL DEATH
                                         COUNT I
                 VIOLATIONS OF CIVIL RIGHTS - 42 U.S.C.A. § 1983
           SUBSTANTIVE DUE PROCESS – FOURTEENTH AMENDMENT
  (Anterine Maple, Administratrix of the Estate of Kevin George, Jr. deceased, and the
Estate of Zion George, deceased v Frank Piorko, Terry L. Deputy, Michael S. Powell, Jesse
   Hayden, Scott Figurski, Charles E. Williams, II, Steve Williams, Ray Bivens, Grant
                              Melville, and Matthew Ritter)

                    State Created Theory of Liability – Individual Direct Liability

         82.       Plaintiff Anterine Maple incorporates by reference the previous paragraphs of the Complaint

as if set forth fully herein.

         83.       Plaintiff Anterine Maple advances this wrongful death action on behalf of the survivors of the

decedents by virtue of Delaware Code, Title 10 §§ 3721 to 3725 [relating to Wrongful Death Actions].

         84.       This civil action is advanced to recover on behalf of statutory beneficiaries all damages

recoverable under the Delaware Wrongful Death Act.

         85.       At all material times relevant to the subject matter described in this Complaint, the Fourteenth

Amendment of the United States Constitution conferred upon the plaintiff’s decedents a substantive due

process right to be free of government officials’ deliberate indifference to, or acts that increase the risk of

serious injury or death from unjustified invasions of bodily integrity.

         86.       At all material times relevant to the subject matter described in this Complaint, the Fourteenth

Amendment of the United States Constitution conferred upon the plaintiff’s decedents a substantive due

process right to the affirmative intervention by state actors to minimize the risk of drowning.

         87.       At all material times relevant to the subject matter described in this Complaint, defendants

Frank Piorko, Terry L. Deputy, Michael S. Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II,

Steve Williams, Ray Bivens, Grant Melville, and Matthew Ritter were persons within the meaning of 42

U.S.C.A. § 1983.




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        88.      At all material times relevant to the subject matter described in this Complaint, defendants

Frank Piorko, Terry L. Deputy, Michael S. Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II,

Steve Williams, Ray Bivens, Grant Melville, and Matthew Ritter acted under the color of state law.

        89.      At all material times relevant to the subject matter described in this Complaint, defendants

Frank Piorko, Terry L. Deputy, Michael S. Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II,

Steve Williams, Ray Bivens, Grant Melville, and Matthew Ritter owed plaintiff’s decedents a statutory

duty pursuant to 42 U.S.C.A. § 1983 to act in a manner to safeguard rights of the plaintiff’s

decedents secured by the United States Constitution.

        90.      At all material times relevant to the subject matter described in this Complaint, defendants

Frank Piorko, Terry L. Deputy, Michael S. Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II,

Steve Williams, Ray Bivens, Grant Melville, and Matthew Ritter affirmatively used their authority to cause the

dredging operations of the Murderkill River estuary entrance channel along Delaware Bay to be undertaken in

the calendar years of 2014 and 2015.

        91.      At all material times relevant to the subject matter described in this Complaint, defendants

Frank Piorko, Terry L. Deputy, Michael S. Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II,

Steve Williams, Ray Bivens, Grant Melville, and Matthew Ritter directed or otherwise caused the dredging

operations of the Murderkill River estuary entrance channel along Delaware Bay to be undertaken in the

calendar years of 2014 and 2015.

        92.      The dredging operations of the Murderkill River estuary entrance channel along Delaware

Bay undertaken in the calendar years of 2014 and 2015 significantly changed the status quo of the bathymetry

of the Murderkill River estuary entrance channel along Delaware Bay creating a hazard to recreational

swimmers, such as the plaintiff’s decedents, or rendered them more vulnerable to danger than had the dredging

operation not been undertaken at all.




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        93.     At all material times relevant to the subject matter described in this Complaint, defendants

Frank Piorko, Terry L. Deputy, Michael S. Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II,

Steve Williams, Ray Bivens, Grant Melville, and Matthew Ritter knew or reasonably should have known

that South Bowers Beach near the Murderkill River estuary would be used for recreational

activities, inclusive of swimming, during tide changes after completion of its dredging project.

        94.     At all material times relevant to the subject matter described in this Complaint, defendants

Frank Piorko, Terry L. Deputy, Michael S. Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II,

Steve Williams, Ray Bivens, Grant Melville, and Matthew Ritter knew or reasonably should have known

that the dredging of the Murderkill River estuary channel would alter the tidal force, amplify the

velocity of the moment of water during tide change at South Bowers Beach near the Murderkill

River estuary, and create a dangerous and unreasonable hazard to unsuspecting recreational

swimmers, such as the plaintiff’s decedents, at South Bowers Beach.

        95.     At all material times relevant to the subject matter described in this Complaint, defendants

Frank Piorko, Terry L. Deputy, Michael S. Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II,

Steve Williams, Ray Bivens, Grant Melville, and Matthew Ritter knew or reasonably should have known

that the dredging operations of the Murderkill River estuary entrance channel along Delaware Bay undertaken

in the calendar years of 2014 and 2015 created a hazard to recreational swimmers at South Bowers Beach.

        96.     The plaintiff decedents were members of a discrete class of persons subjected to the potential

harm brought about by the dredging operations of the Murderkill River estuary entrance channel along

Delaware Bay undertaken in the calendar years of 2014 and 2015 upon the basis:

                (a)     The plaintiff’s decedents were members of a small, defined group of potential

victims, unsuspecting day-vacation recreational swimmers swimming in the immediate area of the

Murderkill River estuary channel at the mouth of South Bowers Beach during tidal change;




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                 (b)      It reasonably could be expected of the defendants to know that the dredging of the

Murderkill River estuary channel created a danger specific to unsuspecting recreational swimmers

swimming in the immediate location of the Murderkill River estuary channel at the mouth of South

Bowers Beach, such as the plaintiff’s decedents;

                 (c)      The dangers presented by the amplified tidal force created by the dredging of

the Murderkill River estuary channel jeopardized the safety of only unsuspecting recreational

swimmers, such as the plaintiff’s decedents, swimming in the immediate location of the Murderkill

River estuary channel at the mouth of South Bowers Beach;

                 (d)      The dangers presented by the amplified tidal force created by the dredging of

the Murderkill River estuary channel was limited in scope of time;

                 (e)      The dangers presented by the amplified tidal force created by the dredging of

the Murderkill River estuary channel was limited in scope of geographic locale;

                 (f)      The drowning of unsuspecting recreational swimmers, such as the plaintiff’s

decedents, was predictable and reasonably foreseeable;

                 (g)      The plaintiff’s decedents, as day-vacation recreational swimmers, were part of a

limited and specifically definable group.

        97.      At all material times relevant to the subject matter described in this Complaint, defendants

Frank Piorko, Terry L. Deputy, Michael S. Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II,

Steve Williams, Ray Bivens, Grant Melville, and Matthew Ritter knew or reasonably should have known that

South Bowers Beach near the Murderkill River estuary would be used for recreational activities, inclusive of

recreational swimming during tide changes.

        98.      At all material times relevant to the subject matter described in this Complaint, defendants

Frank Piorko, Terry L. Deputy, Michael S. Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II,




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Steve Williams, Ray Bivens, Grant Melville, and Matthew Ritter knew or reasonably should have known that

South Bowers Beach near the Murderkill River estuary and the Murderkill River was an unguarded beach and

swimming area.

        99.      At all material times relevant to the subject matter described in this Complaint, defendants

Frank Piorko, Terry L. Deputy, Michael S. Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II,

Steve Williams, Ray Bivens, Grant Melville, and Matthew Ritter knew or reasonably should have suspected

that day-vacationers, such as the plaintiff’s decedents, would not discover or realize the dangerous and

unreasonable risk of harm which the tidal force at South Bowers Beach near the Murderkill River estuary and

the Murderkill River presented to recreational swimmers at South Bowers Beach.

        100.     At all material times relevant to the subject matter described in this Complaint, defendants

Frank Piorko, Terry L. Deputy, Michael S. Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II,

Steve Williams, Ray Bivens, Grant Melville, and Matthew Ritter knew or reasonably should have known that

it was practically certain that recreational swimmers at South Bowers Beach and the Murderkill River, such as

the plaintiff’s decedents, would suffer harm, injury, or death by drowning as a result of the dredging of the

Murderkill River estuary channel.

        101.     As a direct and proximate result of defendants Frank Piorko, Terry L. Deputy, Michael S.

Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II, Steve Williams, Ray Bivens, Grant Melville,

and Matthew Ritter’s exercise of executive power which resulted in the undertaking of the dredging

operations of the Murderkill River estuary entrance channel along Delaware Bay in the calendar years of 2014

and 2015 plaintiff’s decedents were caused to suffer a violation of substantive due process rights as protected

by the Fourteenth Amendment of the United States Constitution.

        102.     As a direct and proximate result of the above-described affirmative action of defendants

Frank Piorko, Terry L. Deputy, Michael S. Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II,




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Steve Williams, Ray Bivens, Grant Melville, and Matthew Ritter’s exercise of executive power, plaintiff

Anterine Maple has been caused to incur funeral, burial, and estate administration expenses associated with the

death of the decedents.

        103.     As a direct and proximate result of the above described affirmative action of defendants

Frank Piorko, Terry L. Deputy, Michael S. Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II,

Steve Williams, Ray Bivens, Grant Melville, and Matthew Ritter’s exercise of executive power, plaintiff

Anterine Maple and wrongful death beneficiaries were caused to suffer the loss of any contribution she and the

remaining family of the decedent would have received from the decedents but for their deaths, including

amounts of money for such items as shelter, food, clothing, medical care, education, entertainment, gifts and

recreation.

        104.     As a direct and proximate result of the above-described affirmative action of defendants

Frank Piorko, Terry L. Deputy, Michael S. Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II,

Steve Williams, Ray Bivens, Grant Melville, and Matthew Ritter’s exercise of executive power, plaintiff

Anterine Maple and wrongful death beneficiaries were caused to suffer the loss of the monetary value of all

sums that the decedents would have contributed to the support of her family during their reasonable life

expectancy.

        105.     As a direct and proximate result of the above-described affirmative action of defendants

Frank Piorko, Terry L. Deputy, Michael S. Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II,

Steve Williams, Ray Bivens, Grant Melville, and Matthew Ritter’s exercise of executive power, plaintiff

Anterine Maple and wrongful death beneficiaries were caused to suffer the loss of the monetary value

associated with grief, mental anguish, the services of companionship, comfort, society, guidance, solace, love,

affection, companionship, support, and protection that the decedents would have given to her and her family

during their reasonable life expectancy.




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          106.     At all material times relevant to the subject matter described in this Complaint, defendants

Frank Piorko, Terry L. Deputy, Michael S. Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II,

Steve Williams, Ray Bivens, Grant Melville, and Matthew Ritter acted with a degree of culpability that shocks

the conscience of a reasonable person.

          107.     The aforementioned actions of defendants Frank Piorko, Terry L. Deputy, Michael S. Powell,

Jesse Hayden, Scott Figurski, Charles E. Williams, II, Steve Williams, Ray Bivens, Grant Melville, and

Matthew Ritter were outrageous, extreme, beyond all possible bounds of decency, and is to be regarded as

intolerable in a civilized community.

          108.     As a direct and proximate result of the above-described affirmative action of defendants

Frank Piorko, Terry L. Deputy, Michael S. Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II,

Steve Williams, Ray Bivens, Grant Melville, and Matthew Ritter the plaintiff Anterine Maple has been caused

to incur attorney’s fees and costs prosecuting this matter.

          WHEREFORE, plaintiff Anterine Maple individually and as Administratrix of the Estate of Kevin

George, Jr. deceased, and the Estate of Zion George prays for judgment against defendants Frank Piorko,

Terry L. Deputy, Michael S. Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II, Steve Williams,

Ray Bivens, Grant Melville, and Matthew Ritter, jointly and severally, and the relief which follows:

          I.       That plaintiff be awarded compensatory damages as proven;

          II.      That plaintiff be awarded reasonable attorney’s fees as provided for pursuant to 42 U.S.C.A.

§ 1988;

          III.     That plaintiff be awarded the cost of prosecuting this claim as provided for pursuant to 42

U.S.C.A. § 1988;

          IV.      That plaintiff be awarded reasonable expert fees as provided for pursuant to 42 U.S.C.A. §

1988;




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         V.        That plaintiff be awarded interest and damages for prejudgment delay;

         VI.       That plaintiff be awarded further relief as this Court may deem appropriate.


                                       COUNT II
                VIOLATIONS OF CIVIL RIGHTS - 42 U.S.C.A. § 1983
          SUBSTANTIVE DUE PROCESS – FOURTEENTH AMENDMENT
      (Anterine Maple, Administratrix of the Estate of Kevin George, Jr. deceased,
       and the Estate of Zion George, deceased v Frank Piorko, Terry L. Deputy,
 Michael S. Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II, Steve Williams,
                     Ray Bivens, Grant Melville, and Matthew Ritter)

                         State Created Theory of Liability – Supervisory Liability

         109.      Plaintiff Anterine Maple incorporates by reference the previous paragraphs of the Complaint

as if set forth fully herein.

         110.      At all material times relevant to the subject matter described in this Complaint, defendants

Frank Piorko, Terry L. Deputy, Michael S. Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II,

Steve Williams, Ray Bivens, Grant Melville, and Matthew Ritter, as employees of defendants DNREC –

Division of Watershed Stewardship and DNREC – Division of Parks and Recreation, served as supervisors

responsible to maintain policies, customs, practices and procedures in connection with subordinate employees

facilitating the dredging operations of the Murderkill River estuary entrance channel along Delaware Bay.

         111.      At all material times relevant to the subject matter described in this Complaint, defendants

Frank Piorko, Terry L. Deputy, Michael S. Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II,

Steve Williams, Ray Bivens, Grant Melville, and Matthew Ritter, as employees of defendants DNREC –

Division of Watershed Stewardship and DNREC – Division of Parks and Recreation served as supervisors

responsible to maintain policies, customs, practices and procedures in connection with the training and

education of subordinate employees to equip them in facilitating the dredging operations of the Murderkill

River estuary entrance channel along Delaware Bay.




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        112.    At all material times relevant to the subject matter described in this Complaint, the employee

training and education policies of subordinates under which defendants DNREC – Division of Watershed

Stewardship and DNREC – Division of Parks and Recreation operated was inadequate to equip subordinate

employees to ensure that appropriate measures were taken to safeguard unsuspecting recreational swimmers at

South Bowers Beach from the latent dangers created by the dredging operations of the Murderkill River

estuary entrance channel along Delaware Bay.

        113.    At all material times relevant to the subject matter described in this Complaint, defendants

Frank Piorko, Terry L. Deputy, Michael S. Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II,

Steve Williams, Ray Bivens, Grant Melville, and Matthew Ritter knew that the employee training and

education policies of subordinates under which defendants DNREC – Division of Watershed Stewardship

and DNREC – Division of Parks and Recreation operated was inadequate to equip subordinate employees to

ensure that appropriate measures were taken to safeguard unsuspecting recreational swimmers at South

Bowers Beach from the latent dangers created by the dredging operations of the Murderkill River estuary

entrance channel along Delaware Bay.

        114.    Defendants Frank Piorko, Terry L. Deputy, Michael S. Powell, Jesse Hayden, Scott Figurski,

Charles E. Williams, II, Steve Williams, Ray Bivens, Grant Melville, and Matthew Ritter made a deliberate

and conscious choice not to take reasonable measures to improve the employee training and education policies

of subordinates under which defendants DNREC – Division of Watershed Stewardship and DNREC –

Division of Parks and Recreation operated to ensure that subordinate employees were sufficiently equipped to

undertake appropriate measures to safeguard unsuspecting recreational swimmers at South Bowers Beach

from the latent dangers created by the dredging operations of the Murderkill River estuary entrance channel

along Delaware Bay.




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        115.     With a deliberate indifference to the constitutional rights of the plaintiff’s decedents,

defendants Frank Piorko, Terry L. Deputy, Michael S. Powell, Jesse Hayden, Scott Figurski, Charles E.

Williams, II, Steve Williams, Ray Bivens, Grant Melville, and Matthew Ritter failed to train and educate

subordinate employees sufficient to ensure that appropriate measures were taken to safeguard unsuspecting

recreational swimmers at South Bowers Beach from the latent dangers created by the dredging operations of

the Murderkill River estuary entrance channel along Delaware Bay.

        116.     With a deliberate indifference to the constitutional rights of the plaintiff’s decedents,

defendants Frank Piorko, Terry L. Deputy, Michael S. Powell, Jesse Hayden, Scott Figurski, Charles E.

Williams, II, Steve Williams, Ray Bivens, Grant Melville, and Matthew Ritter failed to supervise subordinate

employees sufficient to ensure that appropriate measures were taken to safeguard unsuspecting recreational

swimmers at South Bowers Beach from the latent dangers created by the dredging operations of the

Murderkill River estuary entrance channel along Delaware Bay.

        117.     As a direct and proximate result of defendants Frank Piorko, Terry L. Deputy, Michael S.

Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II, Steve Williams, Ray Bivens, Grant Melville,

and Matthew Ritter’s deliberate and conscious choice not to take reasonable measures to train, educate, and

supervise subordinate employees sufficient to ensure that appropriate measures were taken to safeguard

unsuspecting recreational swimmers at South Bowers Beach from the latent dangers created by the dredging

operations of the Murderkill River estuary entrance channel along Delaware Bay, plaintiff’s decedents were

caused to suffer a violation of substantive due process rights as protected by the Fourteenth Amendment of the

United States Constitution.

        118.     As a direct and proximate result of defendants Frank Piorko, Terry L. Deputy, Michael S.

Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II, Steve Williams, Ray Bivens, Grant Melville,

and Matthew Ritter’s deliberate and conscious choice not to take reasonable measures to train, educate, and




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supervise subordinate employees sufficient to ensure that appropriate measures were taken to safeguard

unsuspecting recreational swimmers at South Bowers Beach from the latent dangers created by the dredging

operations of the Murderkill River estuary entrance channel along Delaware Bay, plaintiff Anterine Maple and

wrongful death beneficiaries were caused to suffer those various injuries and loss and expenses as set forth

above.

          119.     As a direct and proximate result of the above-described affirmative action of defendants

Frank Piorko, Terry L. Deputy, Michael S. Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II,

Steve Williams, Ray Bivens, Grant Melville, and Matthew Ritter, the plaintiff Anterine Maple has been

caused to incur attorney’s fees and costs prosecuting this matter.

          WHEREFORE, plaintiff Anterine Maple individually and as Administratrix of the Estate of Kevin

George, Jr. deceased, and the Estate of Zion George prays for judgment against defendants Frank Piorko,

Terry L. Deputy, Michael S. Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II, Steve Williams,

Ray Bivens, Grant Melville, and Matthew Ritter, jointly and severally, and the relief which follows:

          I.       That plaintiff be awarded compensatory damages as proven;

          II.      That plaintiff be awarded reasonable attorney’s fees as provided for pursuant to 42 U.S.C.A.

§ 1988;

          III.     That plaintiff be awarded the cost of prosecuting this claim as provided for pursuant to 42

U.S.C.A. § 1988;

          IV.      That plaintiff be awarded reasonable expert fees as provided for pursuant to 42 U.S.C.A. §

1988;

          V.       That plaintiff be awarded interest and damages for prejudgment delay;

          VI.      That plaintiff be awarded further relief as this Court may deem appropriate.




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                                        COUNT III
                 VIOLATIONS OF CIVIL RIGHTS - 42 U.S.C.A. § 1983
           SUBSTANTIVE DUE PROCESS – FOURTEENTH AMENDMENT
  (Anterine Maple, Administratrix of the Estate of Kevin George, Jr. deceased, and the
Estate of Zion George, deceased v Frank Piorko, Terry L. Deputy, Michael S. Powell, Jesse
   Hayden, Scott Figurski, Charles E. Williams, II, Steve Williams, Ray Bivens, Grant
                              Melville, and Matthew Ritter)

                   Failure to Warn Theory of Liability – Individual Direct Liability

         120.      Plaintiff Anterine Maple incorporates by reference the previous paragraphs of the Complaint

as if set forth fully herein.

         121.      At all material times relevant to the subject matter described in this Complaint, defendants

Frank Piorko, Terry L. Deputy, Michael S. Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II,

Steve Williams, Ray Bivens, Grant Melville, and Matthew Ritter knew or reasonably should have known that

South Bowers Beach near the Murderkill River estuary and the Murderkill River was an unguarded beach and

swimming area.

         122.      At all material times relevant to the subject matter described in this Complaint, defendants

Frank Piorko, Terry L. Deputy, Michael S. Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II,

Steve Williams, Ray Bivens, Grant Melville, and Matthew Ritter knew or reasonably should have suspected

that day-vacationers, such as the plaintiff’s decedents, would not discover or realize the dangerous and

unreasonable risk of harm which the tidal force at South Bowers Beach near the Murderkill River estuary and

the Murderkill River presented to recreational swimmers at South Bowers Beach.

         123.      At all material times relevant to the subject matter described in this Complaint, defendants

Frank Piorko, Terry L. Deputy, Michael S. Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II,

Steve Williams, Ray Bivens, Grant Melville, and Matthew Ritter knew or reasonably should have known that

it was practically certain that drownings of recreational swimmers would result at South Bowers Beach in the

event that no warning or notice signs were posted at or on South Bowers Beach near the Murderkill River



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estuary and the Murderkill River alerting beachgoers, such as the plaintiff’s decedents, that the variance in

velocity of the water’s current during the tide change made recreational swimming hazardous.

          124.   At all material times it was apparent that there was an imminent likelihood that drownings of

recreational swimmers at South Bowers Beach and the Murderkill River would occur in the event that no

warning or notice signs were posted at or on South Bowers Beach near the Murderkill River estuary alerting

beachgoers, such as the plaintiff’s decedents, that the variance in velocity of the water’s current during the tide

change made recreational swimming hazardous.

          125.   At all material times relevant to the subject matter described in this Complaint, defendants

Frank Piorko, Terry L. Deputy, Michael S. Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II,

Steve Williams, Ray Bivens, Grant Melville, and Matthew Ritter had the ability and where-with-all to provide

effective warnings to foreseeable unsuspecting recreational swimmers on South Bowers Beach and the

Murderkill River of the dangerous and unreasonable risk of harm which the tidal force at South Bowers

Beach near the Murderkill River estuary presented to recreational swimmers sufficient to prevent drowning

events.

          126.   At all material times relevant to the subject matter described in this Complaint, defendants

Frank Piorko, Terry L. Deputy, Michael S. Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II,

Steve Williams, Ray Bivens, Grant Melville, and Matthew Ritter acted under circumstances in which actual

deliberation was possible.

          127.   At all material times relevant to the subject matter described in this Complaint, defendants

Frank Piorko, Terry L. Deputy, Michael S. Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II,

Steve Williams, Ray Bivens, Grant Melville, and Matthew Ritter arbitrarily and with a reckless indifference to

the protected rights of the plaintiff’s decedents, chose to take no action sufficient to notify recreational

swimmers at South Bowers Beach and the Murderkill River that the dredging operations of the




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Murderkill River estuary entrance channel along Delaware Bay undertaken in the calendar years of 2014 and

2015 created a latent hazard to recreational swimmers at South Bowers Beach.

        128.     Choosing to take no action sufficient to notify recreational swimmers at South Bowers

Beach that the dredging operations of the Murderkill River estuary entrance channel along Delaware Bay

undertaken in the calendar years of 2014 and 2015 created a latent hazard to recreational swimmers at

South Bowers Beach and the Murderkill River, defendants Frank Piorko, Terry L. Deputy, Michael S.

Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II, Steve Williams, Ray Bivens, Grant Melville,

and Matthew Ritter acted with an indifference to the foreseeable of consequence that recreational

swimmers would suffer drownings at South Bowers Beach and in the Murderkill River.

        129.     Choosing to take no action sufficient to notify recreational swimmers at South Bowers

Beach that the dredging operations of the Murderkill River estuary entrance channel along Delaware Bay

undertaken in the calendar years of 2014 and 2015 created a latent hazard to recreational swimmers at

South Bowers Beach and the Murderkill River during tidal changes, defendants Frank Piorko, Terry L.

Deputy, Michael S. Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II, Steve Williams, Ray

Bivens, Grant Melville, and Matthew Ritter acted with sustained recklessness in the face of an obvious risk

of harm to foreseeable recreational swimmers at South Bowers Beach and the Murderkill River during

tidal changes.

        130.     Defendants Frank Piorko, Terry L. Deputy, Michael S. Powell, Jesse Hayden, Scott Figurski,

Charles E. Williams, II, Steve Williams, Ray Bivens, Grant Melville, and Matthew Ritter demonstrated a

persistent marked disregard for the safety of recreational swimmers in choosing to take no action sufficient to

notify recreational swimmers at South Bowers Beach and the Murderkill River that the dredging

operations of the Murderkill River estuary entrance channel along Delaware Bay undertaken in the calendar




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years of 2014 and 2015 created a latent hazard to recreational swimmers at South Bowers Beach and the

Murderkill River during tidal changes.

        131.     Defendants Frank Piorko, Terry L. Deputy, Michael S. Powell, Jesse Hayden, Scott Figurski,

Charles E. Williams, II, Steve Williams, Ray Bivens, Grant Melville, and Matthew Ritter were grossly

negligent choosing to take no action sufficient to notify recreational swimmers at South Bowers Beach

and the Murderkill River that the dredging operations of the Murderkill River estuary entrance channel

along Delaware Bay undertaken in the calendar years of 2014 and 2015 created a latent hazard to recreational

swimmers at South Bowers Beach and the Murderkill River during tidal changes.

        132.     As a direct and proximate result of defendants Frank Piorko, Terry L. Deputy, Michael S.

Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II, Steve Williams, Ray Bivens, Grant Melville,

and Matthew Ritter’s, deliberate and conscious choice not to warn of the dangers sufficient to safeguard

unsuspecting recreational swimmers at South Bowers Beach and the Murderkill River during tidal changes

from the latent dangers created by the dredging operations of the Murderkill River estuary entrance channel

along Delaware Bay, plaintiff’s decedents were caused to suffer a violation of substantive due process rights

as protected by the Fourteenth Amendment of the United States Constitution.

        133.     As a direct and proximate result of defendants Frank Piorko, Terry L. Deputy, Michael S.

Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II, Steve Williams, Ray Bivens, Grant Melville,

and Matthew Ritter’s deliberate and conscious choice not to take reasonable measures to safeguard

unsuspecting recreational swimmers at South Bowers Beach and the Murderkill River during tidal changes

from the latent dangers created by the dredging operations of the Murderkill River estuary entrance channel

along Delaware Bay, plaintiff Anterine Maple and wrongful death beneficiaries were caused to suffer those

various injuries, loss and expenses as set forth above.




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          134.     As a direct and proximate result of the above-described affirmative action of defendants

Frank Piorko, Terry L. Deputy, Michael S. Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II,

Steve Williams, Ray Bivens, Grant Melville, and Matthew Ritter, the plaintiff Anterine Maple has been

caused to incur attorney’s fees and costs prosecuting this matter.

          WHEREFORE, plaintiff Anterine Maple individually and as Administratrix of the Estate of Kevin

George, Jr. deceased, and the Estate of Zion George prays for judgment against defendants Frank Piorko,

Terry L. Deputy, Michael S. Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II, Steve Williams,

Ray Bivens, Grant Melville, and Matthew Ritter, jointly and severally, and the relief which follows:

          I.       That plaintiff be awarded compensatory damages as proven;

          II.      That plaintiff be awarded reasonable attorney’s fees as provided for pursuant to 42 U.S.C.A.

§ 1988;

          III.     That plaintiff be awarded the cost of prosecuting this claim as provided for pursuant to 42

U.S.C.A. § 1988;

          IV.      That plaintiff be awarded reasonable expert fees as provided for pursuant to 42 U.S.C.A. §

1988;

          V.       That plaintiff be awarded interest and damages for prejudgment delay;

          VI.      That plaintiff be awarded further relief as this Court may deem appropriate.




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                                        COUNT IV
                 VIOLATIONS OF CIVIL RIGHTS - 42 U.S.C.A. § 1983
           SUBSTANTIVE DUE PROCESS – FOURTEENTH AMENDMENT
  (Anterine Maple, Administratrix of the Estate of Kevin George, Jr. deceased, and the
Estate of Zion George, deceased v Frank Piorko, Terry L. Deputy, Michael S. Powell, Jesse
   Hayden, Scott Figurski, Charles E. Williams, II, Steve Williams, Ray Bivens, Grant
                              Melville, and Matthew Ritter)

                         Failure to Warn Theory of Liability – Supervisor Liability

         135.      Plaintiff Anterine Maple incorporates by reference the previous paragraphs of the Complaint

as if set forth fully herein.

         136.      At all material times relevant to the subject matter described in this Complaint, the employee

training and education policies of subordinates under which defendants DNREC – Division of Watershed

Stewardship and DNREC – Division of Parks and Recreation operated was inadequate to equip subordinate

employees to warn of unsuspecting recreational swimmers at South Bowers Beach and the Murderkill River

during tidal changes from the latent dangers created by the dredging operations of the Murderkill River

estuary entrance channel along Delaware Bay sufficient to prevent drowning deaths.

         137.      At all material times relevant to the subject matter described in this Complaint, defendants

Frank Piorko, Terry L. Deputy, Michael S. Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II,

Steve Williams, Ray Bivens, Grant Melville, and Matthew Ritter knew that the employee training and

education policies of subordinates under which defendants DNREC – Division of Watershed Stewardship

and DNREC – Division of Parks and Recreation operated were inadequate to equip subordinate employees to

ensure that appropriate measures were taken to provide warning to unsuspecting recreational swimmers at

South Bowers Beach and the Murderkill River during tidal changes from the latent dangers created by the

dredging operations of the Murderkill River estuary entrance channel along Delaware Bay sufficient to prevent

drowning deaths.




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        138.     Defendants Frank Piorko, Terry L. Deputy, Michael S. Powell, Jesse Hayden, Scott Figurski,

Charles E. Williams, II, Steve Williams, Ray Bivens, Grant Melville, and Matthew Ritter made a deliberate

and conscious choice not to take reasonable measures to improve the employee training and education policies

of subordinates under which defendants DNREC – Division of Watershed Stewardship and DNREC –

Division of Parks and Recreation operated to ensure that subordinate employees were sufficiently equipped to

undertake appropriate measures to provide warnings to safeguard unsuspecting recreational swimmers at

South Bowers Beach and the Murderkill River during tidal changes from the latent dangers created by the

dredging operations of the Murderkill River estuary entrance channel along Delaware Bay sufficient to prevent

drowning deaths.

        139.     With a deliberate indifference to the constitutional rights of the plaintiff’s decedents,

defendants Frank Piorko, Terry L. Deputy, Michael S. Powell, Jesse Hayden, Scott Figurski, Charles E.

Williams, II, Steve Williams, Ray Bivens, Grant Melville, and Matthew Ritter failed to train and educate

subordinate employees sufficient to ensure that subordinates took appropriate measures to warn unsuspecting

recreational swimmers at South Bowers Beach and the Murderkill River during tidal changes from the

latent dangers created by the dredging operations of the Murderkill River estuary entrance channel along

Delaware Bay sufficient to prevent drowning deaths.

        140.     With a deliberate indifference to the constitutional rights of the plaintiff’s decedents,

defendants Frank Piorko, Terry L. Deputy, Michael S. Powell, Jesse Hayden, Scott Figurski, Charles E.

Williams, II, Steve Williams, Ray Bivens, Grant Melville, and Matthew Ritter failed to supervise subordinate

employees sufficient to ensure that subordinates took appropriate measures to warn unsuspecting recreational

swimmers at South Bowers Beach and the Murderkill River during tidal changes from the latent dangers

created by the dredging operations of the Murderkill River estuary entrance channel along Delaware Bay

sufficient to prevent drowning deaths.




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        141.     As a direct and proximate result of defendants Frank Piorko, Terry L. Deputy, Michael S.

Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II, Steve Williams, Ray Bivens, Grant Melville,

and Matthew Ritter’s deliberate and conscious choice not to take reasonable measures to train, educate, and

supervise subordinate employees sufficient to ensure that subordinates took appropriate measures to warn

unsuspecting recreational swimmers at South Bowers Beach and the Murderkill River during tidal changes

from the latent dangers created by the dredging operations of the Murderkill River estuary entrance channel

along Delaware Bay adequate to prevent drowning deaths, plaintiff’s decedents were caused to suffer a

violation of substantive due process rights as protected by the Fourteenth Amendment of the United States

Constitution.

        142.     As a direct and proximate result of defendants Frank Piorko, Terry L. Deputy, Michael S.

Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II, Steve Williams, Ray Bivens, Grant Melville,

and Matthew Ritter’s deliberate and conscious choice not to take reasonable measures to train, educate, and

supervise subordinate employees sufficient to ensure that appropriate measures were taken to safeguard

unsuspecting recreational swimmers at South Bowers Beach and the Murderkill River during tidal changes

from the latent dangers created by the dredging operations of the Murderkill River estuary entrance channel

along Delaware Bay, plaintiff Anterine Maple and wrongful death beneficiaries were caused to suffer those

various injuries and loss and expenses as set forth above.

        143.     As a direct and proximate result of the above-described affirmative action of defendants

Frank Piorko, Terry L. Deputy, Michael S. Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II,

Steve Williams, Ray Bivens, Grant Melville, and Matthew Ritter, the plaintiff Anterine Maple has been

caused to incur attorney’s fees and costs prosecuting this matter.




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          WHEREFORE, plaintiff Anterine Maple individually and as Administratrix of the Estate of Kevin

George, Jr. deceased, and the Estate of Zion George prays for judgment against defendants Frank Piorko,

Terry L. Deputy, Michael S. Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II, Steve Williams,

Ray Bivens, Grant Melville, and Matthew Ritter, jointly and severally, and the relief which follows:

          I.       That plaintiff be awarded compensatory damages as proven;

          II.      That plaintiff be awarded reasonable attorney’s fees as provided for pursuant to 42 U.S.C.A.

§ 1988;

          III.     That plaintiff be awarded the cost of prosecuting this claim as provided for pursuant to 42

U.S.C.A. § 1988;

          IV.      That plaintiff be awarded reasonable expert fees as provided for pursuant to 42 U.S.C.A. §

1988;

          V.       That plaintiff be awarded interest and damages for prejudgment delay;

          VI.      That plaintiff be awarded further relief as this Court may deem appropriate.


                                         COUNT V
                  DELAWARE TORT CLAIMS ACT – 10 DEL. C. § 4001
                     EXCEPTIONS TO SOVEREIGN IMMUNITY
(Anterine Maple, Administratrix of the Estate of Kevin George, Jr. deceased, and the Estate of
             Zion George, deceased v DNREC – Div. of Parks and Recreation)

          144.     Plaintiff Anterine Maple incorporates by reference the previous paragraphs of the Complaint

as if set forth fully herein.

          145.     At all relevant times material hereto, the oceanfront beach and shoreline of South Bowers

Beach, located Kent County, Delaware extending landward one thousand (1,000) feet and seaward two

thousand five hundred (2,500) feet (hereinafter “South Bowers Beach”), was public land owned by the state of

Delaware.




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        146.     At all relevant times material hereto, the plaintiff’s decedents were upon the beach as licensee

guests without payment.

        147.     At all relevant times material hereto, the plaintiff’s decedents did not know of or have reason

to know of the significant change in the velocity of the movement of water at South Bowers Beach near the

Murderkill River estuary or the Murderkill River during tide change.

        148.     At all relevant times material hereto, the plaintiff’s decedents did not know of or have reason

to know of the dangerous and unreasonable risk of harm which the significant change in the velocity of the

movement of water at South Bowers Beach near the Murderkill River estuary and the Murderkill River

presented to recreational swimmers at South Bowers Beach.

        149.     At all relevant times material hereto, pursuant to the provisions of the Delaware Code, 7 Del.

C. § 4504(a) [relating to Supervision and Control of Public Lands by Department of Natural Resources and

Environmental Control; Public Beaches; Penalty] defendant DNREC – Parks and Recreation was charged

with the responsibility of supervising and controlling the care of the public lands.

        150.     At all relevant times material hereto, pursuant to the provisions of the Delaware Code, 7 Del.

C. § 4504(a) [relating to Supervision and Control of Public Lands by Department of Natural Resources and

Environmental Control; Public Beaches; Penalty], defendant DNREC – Parks and Recreation was charged

with the responsibility of promoting, regulating the use of, and caring for the aforementioned public South

Bowers Beach and the Murderkill River.

        151.     At all relevant times material hereto, pursuant to the provisions of the Delaware Code, 7 Del.

C. § 4509 [relating to Improvement of Public Lands], defendant DNREC – Parks and Recreation was

authorized to make improvements to and on any public lands within the State of Delaware, inclusive of South

Bowers Beach and the Murderkill River.




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        152.     At all relevant times material hereto, pursuant to the provisions of the Delaware Code, 7 Del.

C. § 6803 [relating to Authority to Enhance, Preserve and Protect Beaches] defendant DNREC – Parks and

Recreation was authorized to enhance, preserve, and protect public beaches and waterways within the State of

Delaware, inclusive of South Bowers Beach, and the Murderkill River.

        153.     At all relevant times material hereto, pursuant to the provisions of the Delaware Code, 7 Del.

C. § 6804 [relating to Privately owned beaches] defendant DNREC – Parks and Recreation was authorized to

enhance, preserve, and protect private beaches and waterways within the State of Delaware, inclusive of South

Bowers Beach, and the Murderkill River.

        154.     At all relevant times material hereto, the public South Bowers Beach and the Murderkill

River were applicable land under the jurisdiction of defendant DNREC – Parks and Recreation within the

meaning of the Delaware Administrative Code, 7 DE Admin. Code §§ 9201-2.1 and 9201-2.2

        155.     At all relevant times material hereto, pursuant to the provisions of the Delaware

Administrative Code, 7 DE Admin. Code §§ 9201-2.1 and 9201-2.2, defendant DNREC – Parks and

Recreation was charged with responsibility to govern the use of all applicable lands, inclusive of South Bowers

Beach and the Murderkill River.

        156.     At all relevant times material hereto, pursuant to the provisions of the Delaware

Administrative Code, 7 DE Admin. Code §§ 9201-2.1 and 9201-2.2, defendant DNREC – Parks and

Recreation was charged with responsibility to take action to ensure the safety, protection and general welfare

of the visitors and personnel on properties under its jurisdiction, inclusive of South Bowers Beach and the

Murderkill River.

        157.     At all relevant times material hereto, defendant DNREC – Parks and Recreation was vested

with the responsibility to abate dangerous conditions of public lands and waterways under its jurisdiction.




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        158.     Pursuant to the provisions of the Delaware Administrative Code, 7 DE Admin. Code §§

9201-2.1 and 9201-2.2 defendant DNREC – Parks and Recreation was authorized to implement the rules and

regulations to ensure the safety, protection and general welfare of the visitors and personnel on properties and

waterways under its jurisdiction.

        159.     Defendant DNREC – Parks and Recreation implemented various rules, regulations, and

policies seeking to provide a safe and healthful environment for visitors, by reducing or removing known

hazards and applying other appropriate measures, including closures, guarding, posting of signage, or other

forms of education.

        160.     At all relevant times material hereto, defendant DNREC – Parks and Recreation was vested

with broad discretion regarding the manner in which to warn the public of dangerous conditions of public

lands and waterways under its jurisdiction.

        161.     At all relevant times material hereto, defendant DNREC – Parks and Recreation knew or

reasonably should have known that South Bowers Beach near the Murderkill River estuary and the Murderkill

River would be used for recreational activities, inclusive of recreational swimming, during tide changes.

        162.     At all relevant times material hereto, defendant DNREC – Parks and Recreation knew or

reasonably should have known that South Bowers Beach near the Murderkill River estuary and the Murderkill

River was an unguarded beach and swimming area.

        163.     At all relevant times material hereto, defendant DNREC – Parks and Recreation knew or had

to know that the velocity of the movement of water at South Bowers Beach near the Murderkill River estuary

and the Murderkill River created a dangerous and unreasonable risk of harm to unsuspecting recreational

swimmers at South Bowers Beach and the Murderkill River.

        164.     At all relevant times material hereto, defendant DNREC – Parks and Recreation knew or

reasonably should have suspected that vacationers, such as the plaintiff’s decedents, would not discover or




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realize the dangerous and unreasonable risk of harm which the tidal force at South Bowers Beach near the

Murderkill River estuary and the Murderkill River presented to recreational swimmers.

        165.     At all material times defendant DNREC – Parks and Recreation knew or reasonably should

have known that it was practically certain that drownings of recreational swimmers would result at South

Bowers Beach and the Murderkill River in the event that no warning or notice signs were posted at or on

South Bowers Beach near the Murderkill River estuary alerting beachgoers, such as the plaintiff’s decedents,

that the variance in velocity of the water’s current during the tide change made recreational swimming

hazardous.

        166.     At all material times it was apparent that there was an imminent likelihood that drownings of

recreational swimmers at South Bowers Beach and the Murderkill River would occur in the event that no

warning or notice signs were posted at or on South Bowers Beach near the Murderkill River estuary alerting

beachgoers, such as the plaintiff’s decedents, that the variance in velocity of the water’s current during the tide

change made recreational swimming hazardous.

        167.     At all material times defendant DNREC – Parks and Recreation knew or reasonably should

have known that the Murderkill River estuary channel at the mouth of the Delaware Bay and the Murderkill

River presented a dangerous condition of public lands and waterways during tidal changes.

        168.     Defendant DNREC – Parks and Recreation owed the plaintiff’s decedents a statutory duty of

care to take action to ensure the safety, protection and general welfare of the visitors and personnel on

properties and waterways under its jurisdiction.

        169.     Defendant DNREC – Parks and Recreation owed the plaintiff’s decedents a common law

duty of care to refrain from acting with gross or wanton negligence toward licensees upon public lands and

waterways under its jurisdiction.




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        170.     Defendant DNREC – Parks and Recreation owed the plaintiff’s decedents an assumed duty

of care to refrain from acting with gross or wanton negligence toward licensees upon public lands and

waterways under its jurisdiction.

        171.     Defendant DNREC – Parks and Recreation breached the duties of care owed the plaintiff’s

decedents, and remains liable within the meaning of the Delaware Code, 10 Del. C. § 4001, in the following,

but not limited, ways:

                 (a)      Failed to exercise reasonable care to make the dangerous condition of South Bowers

Beach and the Murderkill River safe for expected use;

                 (b)      Failed to take reasonable measures to warn the licensees of the dangerous condition

of South Bowers Beach and the Murderkill River;

                 (c)      Failed to take reasonable measures to warn the licensees of the risk involved in

recreational swimming at South Bowers Beach and the Murderkill River;

                 (d)      Failed to post warning or notice signs prohibiting recreational swimming at or on

South Bowers Beach and the Murderkill River during tidal changes;

                 (e)      Failed to take reasonable measures to ensure public safety on public lands and

waterways under its jurisdiction;

                 (f)      Failed to take reasonable measures to abate the dangerous condition existing on

public lands and waterways under its jurisdiction.

        172.     As a direct and proximate result of the defendant DNREC – Parks and Recreation’s grossly

negligent and wanton acts, omissions or failures to act, plaintiff Anterine Maple and wrongful death

beneficiaries have been caused to suffer those various injuries, loss and expenses as set forth above.




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          WHEREFORE, plaintiff Anterine Maple individually and as Administratrix of the Estate of Kevin

 George, Jr. deceased, and the Estate of Zion George prays for judgment against defendant DNREC – Parks

 and Recreation, jointly and severally, and the relief which follows:

          I.        That plaintiff be awarded compensatory damages as proven at trial;

          II.       That plaintiff be awarded interest and damages for prejudgment delay;

          III.      That plaintiff be awarded further relief as this Court may deem appropriate.


                                         COUNT VI
                  DELAWARE TORT CLAIMS ACT – 10 DEL. C. § 4001
                     EXCEPTIONS TO SOVEREIGN IMMUNITY
(Anterine Maple, Administratrix of the Estate of Kevin George, Jr. deceased, and the Estate of
            Zion George, deceased v DNREC – Div. of Watershed Stewardship)

          173.      Plaintiff Anterine Maple incorporates by reference the previous paragraphs of the Complaint

 as if set forth fully herein.

          174.      At all relevant times material hereto, pursuant to the provisions of the Delaware Code, 7 Del.

 C. § 4504(a) [relating to Supervision and Control of Public Lands by Department of Natural Resources and

 Environmental Control; Public Beaches; Penalty] defendant DNREC – Division of Watershed Stewardship

 was charged with the responsibility of supervising and controlling the care of public lands, waterways, and

 certain private lands located within the State of Delaware, inclusive of South Bowers Beach.

          175.      At all relevant times material hereto, pursuant to the provisions of the Delaware Code, 7 Del.

 C. § 4504(a) [relating to Supervision and Control of Public Lands and Certain Private Lands located in

 Delaware by Department of Natural Resources and Environmental Control; Public Beaches; Penalty],

 defendant DNREC – Division of Watershed Stewardship was charged with the responsibility of promoting,

 regulating the use of, and caring for public lands, waterways, and certain private lands located within the State

 of Delaware, inclusive of South Bowers Beach and the Murderkill River.




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        176.    At all relevant times material hereto, pursuant to the provisions of the Delaware Code, 7 Del.

C. § 4509 [relating to Improvement of Public Lands], defendant DNREC – Division of Watershed

Stewardship was authorized to make improvements to and on any public lands, waterways, and certain private

lands inclusive of South Bowers Beach and the Murderkill River located within the State of Delaware.

        177.    At all relevant times material hereto, pursuant to the provisions of the Delaware Code, 7 Del.

C. § 6803 [relating to Authority to Enhance, Preserve and Protect Beaches] defendant DNREC – Division of

Watershed Stewardship was authorized to enhance, preserve, and protect public beaches and waterways

located within the State of Delaware. inclusive of South Bowers Beach and the Murderkill River.

        178.    At all relevant times material hereto, pursuant to the provisions of the Delaware Code, 7 Del.

C. § 6804 [relating to Privately Owned Beaches] defendant DNREC – Division of Watershed Stewardship

was authorized to enhance, preserve, and protect public beaches and waterways located within the State of

Delaware, inclusive of South Bowers Beach and the Murderkill River.

        179.    At all relevant times material hereto, pursuant to the provisions of the Delaware

Administrative Code, 7 DE Admin. Code § 5102 – 4.6.1 [relating to Other Activities Seaward of the Building

Line], defendant DNREC – Division of Watershed Stewardship was charged with the responsibility of

governing the alteration, digging, mining, moving, removal or deposition of any substantial amount of beach

or other materials, which may affect enhancement, preservation or protection of beaches and waterways.

        180.    At all relevant times material hereto, pursuant to the provisions of the Delaware

Administrative Code, 7 DE Reg. § 5102 – 8.2.2 [relating to Violations and Penalties, defendant DNREC –

Division of Watershed Stewardship was charged with the responsibility of abating a public nuisance created

by the alteration, digging, mining, moving, removal or deposition of any substantial amount of beach or other

materials, which may affect enhancement, preservation or protection of beaches and waterways.




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        181.     At all relevant times material hereto, defendant DNREC – Division of Watershed

Stewardship was charged with the responsibility of supervising and controlling the care of waterways located

within the State of Delaware, inclusive of the Murderkill River.

        182.     At all relevant times material hereto, defendant DNREC – Division of Watershed

Stewardship was vested with broad discretion regarding the manner in which to warn the public of dangerous

conditions of public lands, certain private lands, and waterways under its jurisdiction, inclusive of South

Bowers Beach and the Murderkill River.

        183.     At all relevant times material hereto, defendant DNREC – Division of Watershed

Stewardship was vested with broad discretion to abate dangerous conditions of public lands, certain private

lands, and waterways under its jurisdiction, inclusive of South Bowers Beach and the Murderkill River.

        184.     At all relevant times material hereto, defendant DNREC – Division of Watershed

Stewardship knew or reasonably should have known that the South Bowers Beach near Murderkill River

estuary and the Murderkill River would be used for recreational activities, inclusive of recreational swimming,

during tide changes.

        185.     At all relevant times material hereto, defendant DNREC – Division of Watershed

Stewardship knew or reasonably should have known that South Bowers Beach near the Murderkill River

estuary and the Murderkill River was an unguarded beach and swimming area.

        186.     At all relevant times material hereto, defendant DNREC – Division of Watershed

Stewardship knew or had to know that the velocity of the movement of water during tide change at South

Bowers Beach near the Murderkill River estuary created a dangerous and unreasonable risk of harm to

unsuspecting recreational swimmers at South Bowers Beach and the Murderkill River.

        187.     At all relevant times material hereto, defendant DNREC – Division of Watershed

Stewardship knew or reasonably should have suspected that vacationers, such as the plaintiff’s decedents,




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would not discover or realize the dangerous and unreasonable risk of harm which the tidal force at South

Bowers Beach near the Murderkill River estuary and the Murderkill River presented to recreational swimmers

at South Bowers Beach and the Murderkill River.

        188.     At all material times defendant DNREC – Division of Watershed Stewardship knew or

reasonably should have known that it was practically certain that drownings of recreational swimmers would

result at South Bowers Beach in the event that no warning or notice signs were posted at or on South Bowers

Beach near the Murderkill River estuary alerting beachgoers, such as the plaintiff’s decedents, that the variance

in velocity of the water’s current during the tide change made recreational swimming hazardous.

        189.     At all material times it was apparent that there was an imminent likelihood that drownings of

recreational swimmers at South Bowers Beach and in the Murderkill River would occur in the event that no

warning or notice signs were posted at or on South Bowers Beach near the Murderkill River estuary alerting

beachgoers, such as the plaintiff’s decedents, that the variance in velocity of the water’s current at South

Bowers Beach and in the Murderkill River during the tide change made recreational swimming hazardous.

        190.     Defendant DNREC – Division of Watershed Stewardship owed the plaintiff’s decedents a

statutory duty of care to take action to ensure the safety, protection and general welfare of the visitors and

personnel on lands and waterways under its jurisdiction.

        191.     Defendant DNREC – Division of Watershed Stewardship owed the plaintiff’s decedents a

common law duty of care to refrain from acting with gross or wanton negligence toward licensees upon public

lands and waterways under its jurisdiction.

        192.     Defendant DNREC – Division of Watershed Stewardship owed the plaintiff’s decedents an

assumed duty of care to refrain from acting with gross or wanton negligence toward licensees upon public

lands and waterways under its jurisdiction.




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         193.     Defendant DNREC – Division of Watershed Stewardship breached the duties of care owed

the plaintiff’s decedents, and remains liable within the meaning of the Delaware Code, 10 Del. C. § 4001, in

the following, but not limited, ways:

                  (a)     Failed to exercise reasonable care to make the dangerous condition of South Bowers

Beach and the Murderkill River safe for expected use;

                  (b)     Failed to take reasonable measures to warn the licensees of the dangerous condition

of South Bowers Beach and the Murderkill River;

                  (c)     Failed to take reasonable measures to warn the licensees of the risk involved in

recreational swimming at South Bowers Beach and the Murderkill River;

                  (d)     Failed to post warning or notice signs at or on South Bowers Beach prohibiting

recreational swimming at South Bowers Beach and the Murderkill River during tidal changes;

                  (e)     Failed to take reasonable measures to ensure public safety on public lands and

waterways;

                  (f)     Failed to take reasonable measures to abate the dangerous condition existing on

public lands and waterways under its jurisdiction.

         194.     As a direct and proximate result of the defendant DNREC – Division of Watershed

Stewardship’s grossly negligent and wanton acts, omissions or failures to act, plaintiff Anterine Maple and

wrongful death beneficiaries have been caused to suffer those various injuries, loss and expenses as set forth

above.

         WHEREFORE, plaintiff Anterine Maple individually and as Administratrix of the Estate of Kevin

George, Jr. deceased, and the Estate of Zion George prays for judgment against defendant DNREC – Division

of Parks and Recreation, jointly and severally, and the relief which follows:

         I.       That plaintiff be awarded compensatory damages as proven at trial;




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         II.       That plaintiff be awarded interest and damages for prejudgment delay;

         III.      That plaintiff be awarded further relief as this Court may deem appropriate.


                                      COUNT VII
                DELAWARE TORT CLAIMS ACT – 10 DEL. C. § 4001
                     EXCEPTIONS TO SOVEREIGN IMMUNITY
(Anterine Maple, Administratrix of the Estate of Kevin George, Jr. deceased and the Estate
   of Zion George, deceased v Frank Piorko, Terry L. Deputy, Michael S. Powell, Jesse
    Hayden, Scott Figurski, Charles E. Williams, II, Steve Williams, Ray Bivens,Grant
                             Melville, and Matthew Ritter)

         195.      Plaintiff Anterine Maple incorporates by reference the previous paragraphs of the Complaint

as if set forth fully herein.

         196.      At all relevant times material hereto, defendants Frank Piorko, Terry L. Deputy, Michael S.

Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II, Steve Williams, Ray Bivens, Grant Melville,

and Matthew Ritter were charged with the responsibility of promoting, regulating the use of, and caring for the

properties and waterways under its jurisdiction, inclusive of South Bowers Beach and the Murderkill River.

         197.      At all relevant times material hereto, defendants Frank Piorko, Terry L. Deputy, Michael S.

Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II, Steve Williams, Ray Bivens, Grant Melville,

and Matthew Ritter were charged with the responsibility to take action to ensure the safety, protection and

general welfare of the visitors and personnel on properties and waterways under its jurisdiction, inclusive of

South Bowers Beach and the Murderkill River.

         198.      At all relevant times material hereto, defendants Frank Piorko, Terry L. Deputy, Michael S.

Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II, Steve Williams, Ray Bivens, Grant Melville,

and Matthew Ritter knew or reasonably should have known that South Bowers Beach near the Murderkill

River estuary and the Murderkill River would be used for recreational activities, inclusive of recreational

swimming, during tide changes.




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        199.     At all relevant times material hereto, defendants Frank Piorko, Terry L. Deputy, Michael S.

Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II, Steve Williams, Ray Bivens, Grant Melville,

and Matthew Ritter knew or reasonably should have known that South Bowers Beach near the Murderkill

River estuary and the Murderkill River was an unguarded beach and swimming area.

        200.     At all relevant times material hereto, defendants Frank Piorko, Terry L. Deputy, Michael S.

Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II, Steve Williams, Ray Bivens, Grant Melville,

and Matthew Ritter knew or reasonably should have known that the velocity of the movement of water during

tide change at South Bowers Beach near the Murderkill River estuary and the Murderkill River created a

dangerous and unreasonable risk of harm to unsuspecting recreational swimmers during tidal changes.

        201.     At all relevant times material hereto, defendants Frank Piorko, Terry L. Deputy, Michael S.

Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II, Steve Williams, Ray Bivens, Grant Melville,

and Matthew Ritter knew or reasonably should have suspected that day-vacationers, such as the plaintiff’s

decedents, would not discover or realize the dangerous and unreasonable risk of harm which the tidal force at

South Bowers Beach near the Murderkill River estuary and the Murderkill River presented to recreational

swimmers during tidal changes.

        202.     At all relevant times material hereto, defendants Frank Piorko, Terry L. Deputy, Michael S.

Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II, Steve Williams, Ray Bivens, Grant Melville,

and Matthew Ritter knew or reasonably should have known it was practically certain that drownings of

recreational swimmers would result at South Bowers Beach and the Murderkill River in the event that no

warning or notice signs were posted at or on South Bowers Beach near the Murderkill River estuary alerting

beachgoers, such as the plaintiff’s decedents, that the variance in velocity of the water’s current during the tide

change made recreational swimming hazardous.




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        203.     At all material times, it was apparent that there was an imminent likelihood that drownings of

recreational swimmers at South Bowers Beach and the Murderkill River would occur in the event that no

warning or notice signs were posted at or on South Bowers Beach near the Murderkill River estuary alerting

beachgoers, such as the plaintiff’s decedents, that the variance in velocity of the water’s current during the tide

change made recreational swimming hazardous.

        204.     Defendants Frank Piorko, Terry L. Deputy, Michael S. Powell, Jesse Hayden, Scott Figurski,

Charles E. Williams, II, Steve Williams, Ray Bivens, Grant Melville, and Matthew Ritter owed the plaintiff’s

decedents a statutory duty of care to take action to ensure the safety, protection and general welfare of the

visitors and personnel on properties and waterways under its jurisdiction of the DNREC.

        205.     Defendants Frank Piorko, Terry L. Deputy, Michael S. Powell, Jesse Hayden, Scott Figurski,

Charles E. Williams, II, Steve Williams, Ray Bivens, Grant Melville, and Matthew Ritter owed the plaintiff’s

decedents a common law duty of care to refrain from acting with gross or wanton negligence toward licensees

upon public lands and waterways under the jurisdiction of the DNREC

        206.     Defendants Frank Piorko, Terry L. Deputy, Michael S. Powell, Jesse Hayden, Scott Figurski,

Charles E. Williams, II, Steve Williams, Ray Bivens, Grant Melville, and Matthew Ritter breached the duties

of care owed to the plaintiff’s decedents, and remain liable within the meaning of 10 Del. C. § 4001, in the

following, but not limited, ways:

                 (a)      Failed to exercise reasonable care to make the dangerous condition of South Bowers

Beach and the Murderkill River safe for expected use;

                 (b)      Failed to take reasonable measures to warn the licensees of the dangerous condition

of South Bowers Beach and the Murderkill River;

                 (c)      Failed to take reasonable measures to warn the licensees of the risk involved in

recreational swimming at South Bowers Beach and the Murderkill River;




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                (d)      Failed to post warning or notice signs at or on South Bowers Beach and the

Murderkill River prohibiting recreational swimming;

                (e)      Failed to take reasonable measures to ensure public safety on public lands and

waterways;

                (f)      Failed to ensure that subordinate employees were sufficiently equipped to undertake

appropriate measures to safeguard unsuspecting recreational swimmers at South Bowers Beach and the

Murderkill River from the latent dangers created by the dredging operations of the Murderkill River estuary

entrance channel along Delaware Bay;

                (g)      Failed to train and educate subordinate employees sufficient to ensure that

appropriate measures were taken to safeguard unsuspecting recreational swimmers at South Bowers Beach

and the Murderkill River from the latent dangers created by the dredging operations of the Murderkill River

estuary entrance channel along Delaware Bay;

                (h)      Failed to supervise subordinate employees sufficient to ensure that appropriate

measures were taken to safeguard unsuspecting recreational swimmers at South Bowers Beach and the

Murderkill River from the latent dangers created by the dredging operations of the Murderkill River estuary

entrance channel along Delaware Bay.

        207.    As a direct and proximate result of the defendants Frank Piorko, Terry L. Deputy, Michael S.

Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II, Steve Williams, Ray Bivens, Grant Melville,

and Matthew Ritter’s grossly negligent and wanton acts, omissions or failures to act, plaintiff Anterine Maple

and wrongful death beneficiaries have been caused to suffer those various injuries, loss and expenses as set

forth above.

        WHEREFORE, plaintiff Anterine Maple individually and as Administratrix of the Estate of Kevin

George, Jr. deceased, and the Estate of Zion George prays for judgment against defendants Frank Piorko,




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Terry L. Deputy, Michael S. Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II, Steve Williams,

Ray Bivens, Grant Melville, and Matthew Ritter, jointly and severally, and the relief which follows:

           I.       That plaintiff be awarded compensatory damages as proven;

           II.      That plaintiff be awarded exemplary damages as proven;

           III.     That plaintiff be awarded interest and damages for prejudgment delay;

           IV.      That plaintiff be awarded further relief as this Court may deem appropriate.


                                       COUNT VIII
       VIOLATION OF THE CONSTITUTION OF THE STATE OF DELAWARE
       (Anterine Maple, Administratrix of the Estate of Kevin George, Jr. deceased,
  and the Estate of Zion George, deceased v DNREC – Division of Watershed Stewardship
                      and DNREC – Division of Parks and Recreation)

           208.     Plaintiff Anterine Maple incorporates by reference the paragraphs above as if set forth herein

in full.

           209.     At all relevant times material hereto, the Preamble and Article 1, Sections 6 and 9 of the

Constitution of the State of Delaware conferred upon the plaintiff’s decedents a substantive right to personal

security to be free from a government official’s deliberate indifference to, or acts that increase the risk of

serious injury or death from unjustified invasions of bodily integrity.

           210.     At all relevant times material hereto, the Preamble and Article 1, Sections 6 and 9 of the

Constitution of the State of Delaware conferred upon the plaintiff’s decedents a substantive right to the

affirmative intervention by state actors to minimize the risk of drowning.

           211.     At all relevant times material hereto, defendants DNREC – Division of Watershed

Stewardship and DNREC – Division of Parks and Recreation operated under a policy, custom, or practice

with respect to safeguarding the substantive rights of licensees on public lands to personal security and to be

free from a government official’s deliberate indifference to or acts that increase the risk of serious injury or

death from unjustified invasions of bodily integrity.



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         212.    At all relevant times material hereto, defendants DNREC – Division of Watershed

Stewardship and DNREC – Division of Parks and Recreation by and through the instrumentality of its agents

and policy makers exercised a deliberate choice to follow a course of action, from among various alternatives,

which resulting in the following:

                 (a)     Failed to exercise reasonable care to make the dangerous condition of South Bowers

Beach and the Murderkill River safe for expected use;

                 (b)     Failed to take reasonable measures to warn the licensees of the dangerous condition

of South Bowers Beach and the Murderkill River;

                 (c)     Failed to take reasonable measures to warn the licensees of the risk involved in

recreational swimming at South Bowers Beach and the Murderkill River;

                 (d)     Failed to post warning or notice signs at or on South Bowers Beach prohibiting

recreational swimming at South Bowers Beach and the Murderkill River during tidal changes;

                 (e)     Failed to take reasonable measures to ensure public safety on public lands and

waterways;

                 (f)     Failed to take reasonable measures to abate the dangerous condition existing on

public lands and waterways under its jurisdiction.

         213.    Defendants DNREC – Division of Watershed Stewardship and DNREC – Division of Parks

and Recreation, by and through the instrumentality of its agents and policy makers, exercised a deliberate

choice to follow a course of action, from among various alternatives, which violated the Preamble and Article

1, Sections 6 and 9 of the Constitution of the State of Delaware and caused plaintiff’s decedents to suffer a

deprivation of the constitutional right to personal security to be free from a government official’s deliberate

indifference to, or acts that increased the risk of serious injury or death from unjustified invasions of bodily

integrity.




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        214.     Defendants DNREC – Division of Watershed Stewardship and DNREC – Division of Parks

and Recreation, by and through the instrumentality of its agents and policy makers, exercised a deliberate

choice to follow a course of action, from among various alternatives, which caused the plaintiff’s decedents to

suffer death without due process and violated the plaintiff’s decedents substantive right to the affirmative

intervention by state actors to minimize the risk of drowning guaranteed by the Preamble and Article 1,

Sections 6 and 9 of the Constitution of the State of Delaware.

        215.     As a direct and proximate result of the above-described grossly and wantonly customs,

practices, and policies employed by the defendants DNREC – Division of Watershed Stewardship and

DNREC – Division of Parks and Recreation, the plaintiff’s decedents were caused to suffer a deprivation of

constitutional rights protected by the Preamble and Article 1, Sections 6 and 9 of the Constitution of the State

of Delaware.

        216.     As a direct and proximate result of the above-described grossly and wantonly customs,

practices, and policies employed by the defendants DNREC – Division of Watershed Stewardship and

DNREC – Division of Parks and Recreation, plaintiff Anterine Maple and wrongful death beneficiaries have

been caused to suffer those various injuries, loss and expenses as set forth above.

        WHEREFORE, plaintiff Anterine Maple individually and as Administratrix of the Estate of Kevin

George, Jr. deceased, and the Estate of Zion George and prays for judgment against defendants DNREC –

Division of Watershed Stewardship and DNREC – Division of Parks and Recreation, jointly and severally,

and the relief which follows:

        I.       That plaintiff be awarded compensatory damages as proven;

        II.      That plaintiff be awarded interest and damages for prejudgment delay;

        III.     That plaintiff be awarded further relief as this Court may deem appropriate.




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                                        COUNT IX
      VIOLATION OF THE CONSTITUTION OF THE STATE OF DELAWARE
       (Anterine Maple, Administratrix of the Estate of Kevin George, Jr. deceased,
        and the Estate of Zion George, deceased v Frank Piorko, Terry L. Deputy,
  Michael S. Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II, Steve Williams,
                      Ray Bivens, Grant Melville, and Matthew Ritter)

                                         Direct Theory of Liability

           217.   Plaintiff Anterine Maple incorporates by reference the paragraphs above as if set forth herein

in full.

           218.   At all relevant times material hereto, defendants Frank Piorko, Terry L. Deputy, Michael S.

Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II, Steve Williams, Ray Bivens, Grant Melville,

and Matthew Ritter were responsible for safeguarding the substantive right of plaintiff’s decedents to be free

from a government official’s deliberate indifference to, or acts that increased the risk of serious injury or death

from unjustified invasions of bodily integrity protected by the Preamble and Article 1, Sections 6 and 9 of the

Constitution of the State of Delaware.

           219.   At all relevant times material hereto, defendants Frank Piorko, Terry L. Deputy, Michael S.

Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II, Steve Williams, Ray Bivens, Grant Melville,

and Matthew Ritter were responsible for safeguarding the substantive right of plaintiff’s decedents to the

affirmative intervention by state actors to minimize the risk of drowning guaranteed by the Preamble and

Article 1, Sections 6 and 9 of the Constitution of the State of Delaware.

           220.   At all relevant times material hereto, defendants Frank Piorko, Terry L. Deputy, Michael S.

Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II, Steve Williams, Ray Bivens, Grant Melville,

and Matthew Ritter acted with gross and wanton negligence and a deliberate indifference to the rights of the

plaintiff’s decedents in the following, but not limited, ways:

                  (a)     Failed to exercise reasonable care to make the dangerous condition of South Bowers

Beach and the Murderkill River safe for expected use;



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                 (b)      Failed to take reasonable measures to warn the licensees of the dangerous condition

of South Bowers Beach and the Murderkill River;

                 (c)      Failed to take reasonable measures to warn the licensees of the risk involved in

recreational swimming at South Bowers Beach and the Murderkill River;

                 (d)      Failed to post warning or notice signs at or on South Bowers Beach prohibiting

recreational swimming at South Bowers Beach and the Murderkill River during tidal changes;

                 (e)      Failed to take reasonable measures to ensure public safety on public lands and

waterways;

                 (f)      Failed to take reasonable measures to abate the dangerous condition existing on

public lands and waterways under their authority.

        221.     As a direct and proximate result of the above-described gross and wanton negligence and

deliberate indifference to the rights of the plaintiff’s decedents, defendants Frank Piorko, Terry L. Deputy,

Michael S. Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II, Steve Williams, Ray Bivens, Grant

Melville, and Matthew Ritter caused the plaintiff’s decedents to suffer a deprivation of the substantive right of

plaintiff’s decedents to be free from a government official’s deliberate indifference to, or acts that increased the

risk of serious injury or death from unjustified invasions of bodily integrity protected by the Preamble and

Article 1, Sections 6 and 9 of the Constitution of the State of Delaware.

        222.     As a direct and proximate result of the above-described gross and wanton negligence and

deliberate indifference to the rights of the plaintiff’s decedents, defendants Frank Piorko, Terry L. Deputy,

Michael S. Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II, Steve Williams, Ray Bivens, Grant

Melville, and Matthew Ritter, the plaintiff’s decedents were caused to suffer a deprivation of the substantive

right of plaintiff’s decedents to the affirmative intervention by state actors to minimize the risk of drowning

guaranteed by the Preamble and Article 1, Sections 6 and 9 of the Constitution of the State of Delaware.




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           223.     As a direct and proximate result of the above-described gross and wanton negligence and

deliberate indifference to the rights of the plaintiff’s decedents, defendants Frank Piorko, Terry L. Deputy,

Michael S. Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II, Steve Williams, Ray Bivens, Grant

Melville, and Matthew Ritter caused the plaintiff Anterine Maple and wrongful death beneficiaries suffer those

various injuries, loss and expenses as set forth above.

           WHEREFORE, plaintiff Anterine Maple individually and as Administratrix of the Estate of Kevin

George, Jr. deceased, and the Estate of Zion George prays for judgment against defendants Frank Piorko,

Terry L. Deputy, Michael S. Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II, Steve Williams,

Ray Bivens, Grant Melville, and Matthew Ritter, jointly and severally, and the relief which follows:

           I.       That plaintiff be awarded compensatory damages as proven;

           II.      That plaintiff be awarded exemplary damages as proven;

           III.     That plaintiff be awarded interest and damages for prejudgment delay;

           IV.      That plaintiff be awarded further relief as this Court may deem appropriate.


                                         COUNT X
         VIOLATIONS OF CONSTITUTION OF THE STATE OF DELAWARE
       (Anterine Maple, Administratrix of the Estate of Kevin George, Jr. deceased,
        and the Estate of Zion George, deceased v Frank Piorko, Terry L. Deputy,
  Michael S. Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II, Steve Williams,
                      Ray Bivens, Grant Melville, and Matthew Ritter)

                                        Supervisor Theory of Liability

           224.     Plaintiff Anterine Maple incorporates by reference the paragraphs above as if set forth herein

in full.

           225.     At all relevant times material hereto, defendants Frank Piorko, Terry L. Deputy, Michael S.

Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II, Steve Williams, Ray Bivens, Grant Melville,

and Matthew Ritter were responsible for safeguarding the substantive rights of plaintiff’s decedents protected



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by the guarantees of the Preamble and Article 1, Sections 6 and 9 of the Constitution of the State of Delaware

to personal security and to be free from a government official’s deliberate indifference to, or acts that increased

the risk of serious injury or death from unjustified invasions of bodily integrity protected by the Preamble and

Article 1, Sections 6 and 9 of the Constitution of the State of Delaware.

        226.     At all relevant times material hereto, defendants Frank Piorko, Terry L. Deputy, Michael S.

Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II, Steve Williams, Ray Bivens, Grant Melville,

and Matthew Ritter were responsible for safeguarding the substantive rights of plaintiff’s decedents to the

affirmative intervention by state actors to minimize the risk of drowning guaranteed by the Preamble and

Article 1, Sections 6 and 9 of the Constitution of the State of Delaware.

        227.     At all relevant times material hereto, defendants Frank Piorko, Terry L. Deputy, Michael S.

Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II, Steve Williams, Ray Bivens, Grant Melville,

and Matthew Ritter acted with gross and wanton negligence and a deliberate indifference to the rights of the

plaintiff’s decedents in the following, but not limited, ways:

                 (a)      Failed to ensure that subordinate employees were sufficiently equipped to undertake

appropriate measures to safeguard unsuspecting recreational swimmers at South Bowers Beach and the

Murderkill River from the latent dangers created by the dredging operations of the Murderkill River estuary

entrance channel along Delaware Bay;

                 (b)      Failed to train and educate subordinate employees sufficient to ensure that

appropriate measures were taken to safeguard unsuspecting recreational swimmers at South Bowers Beach

and the Murderkill River from the latent dangers created by the dredging operations of the Murderkill River

estuary entrance channel along Delaware Bay;

                 (c)      Failed to supervise subordinate employees sufficient to ensure that appropriate

measures were taken to safeguard unsuspecting recreational swimmers at South Bowers Beach and the




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Murderkill River from the latent dangers created by the dredging operations of the Murderkill River estuary

entrance channel along Delaware Bay.

        228.     As a direct and proximate result of the above-described grossly or wantonly negligent and

deliberate actions or inactions of defendants Frank Piorko, Terry L. Deputy, Michael S. Powell, Jesse Hayden,

Scott Figurski, Charles E. Williams, II, Steve Williams, Ray Bivens, Grant Melville, and Matthew Ritter,

plaintiff’s decedents were caused to suffer a deprivation of constitutional rights protected by the guarantees of

the Preamble and Article 1, Sections 6 and 9 of the Constitution of the State of Delaware.

        229.     As a direct and proximate result of the above-described grossly or wantonly negligent and

deliberate actions or inactions of defendants Frank Piorko, Terry L. Deputy, Michael S. Powell, Jesse Hayden,

Scott Figurski, Charles E. Williams, II, Steve Williams, Ray Bivens, Grant Melville, and Matthew Ritter,

plaintiff Anterine Maple and wrongful death beneficiaries have been caused to suffer those various injuries,

loss and expenses as set forth above suffered as a result of the decedents’ death.

        WHEREFORE, plaintiff Anterine Maple individually and as Administratrix of the Estate of Kevin

George, Jr. deceased, and the Estate of Zion George prays for judgment against defendants Frank Piorko,

Terry L. Deputy, Michael S. Powell, Jesse Hayden, Scott Figurski, Charles E. Williams, II, Steve Williams,

Ray Bivens, Grant Melville, and Matthew Ritter, jointly and severally, and the relief which follows:

        I.       That plaintiff be awarded compensatory damages as proven;

        II.      That plaintiff be awarded exemplary damages as proven;

        III.     That plaintiff be awarded interest and damages for prejudgment delay;

        IV.      That plaintiff be awarded further relief as this Court may deem appropriate.




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                                            COUNT XI
                                         NEGLIGENCE
           (Anterine Maple, Administratrix of the Estate of Kevin George, Jr. deceased,
            and the Estate of Zion George, deceased v Manson Construction Company)

           230.   Plaintiff Anterine Maple incorporates by reference the paragraphs above as if set forth herein

in full.

           231.   At all material times relevant to the subject matter described in this Complaint, defendant

Manson Construction Company knew or reasonably should have known that the dredging operation of the

Murderkill River estuary channel undertaken by defendant Manson Construction Company in the calendar

year of 2014 would alter the tidal force and amplify the velocity of the moment of water during tide change at

South Bowers Beach near the Murderkill River estuary and the Murderkill River.

           232.   At all material times relevant to the subject matter described in this Complaint, defendant

Manson Construction Company knew or reasonably should have known that its dredging operations of the

Murderkill River estuary entrance channel along Delaware Bay undertaken in the calendar year of 2014

created a dangerous and unreasonable hazard to unsuspecting recreational swimmers at South Bowers Beach

and the Murderkill River.

           233.   At all material times relevant to the subject matter described in this Complaint, defendant

Manson Construction Company knew or reasonably should have known that South Bowers Beach near the

Murderkill River estuary and the Murderkill River would be used for recreational activities, inclusive of

swimming, during tide changes after completion of its dredging project in 2014.

           234.   At all material times relevant to the subject matter described in this Complaint, defendant

Manson Construction Company knew or reasonably should have suspected that day-vacationers, such as the

plaintiff’s decedents, would not discover or realize the dangerous and unreasonable risk of harm which the

tidal force at South Bowers Beach near the Murderkill River estuary and the Murderkill River presented to

recreational swimmers during tidal changes.



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        235.     At all material times relevant to the subject matter described in this Complaint, defendant

Manson Construction Company knew or reasonably should have known it was practically certain that

drownings of recreational swimmers would result at South Bowers Beach and the Murderkill River in the

event that no warning or notice signs were posted at or on South Bowers Beach near the Murderkill River

estuary alerting beachgoers, such as the plaintiff’s decedents, that the variance in velocity of the water’s current

during the tide change made recreational swimming hazardous.

        236.     At all material times, it was apparent that there was an imminent likelihood that drownings of

recreational swimmers at South Bowers Beach and the Murderkill River would occur in the event that no

warning or notice signs were posted at or on South Bowers Beach near the Murderkill River estuary alerting

beachgoers, such as the plaintiff’s decedents, that the variance in velocity of the water’s current during the tide

change made recreational swimming hazardous.

        237.     Defendant Manson Construction Company owed the plaintiff’s decedents a common law

duty to exercise reasonable care to prevent the risk of harm which its dredging activity created to recreational

swimmers from taking effect.

        238.     Defendant Manson Construction Company breached the duties of care owed to the plaintiff’s

decedents, in the following, but not limited, ways:

                 (a)      Failed to exercise reasonable care to determine whether its dredging activity created a

latent danger to recreational swimmers at South Bowers Beach and the Murderkill River;

                 (b)      Failed to exercise reasonable care to appreciate that its dredging activity created a

latent danger to recreational swimmers at South Bowers Beach and the Murderkill River;

                 (c)      Knew of the latent danger which its dredging activity created to recreational

swimmers at South Bowers Beach and the Murderkill River and with an indifference to the welfare of

recreational swimmers at South Bowers Beach, disregarded the danger;




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                 (d)      Failed to exercise reasonable care to sufficiently warn officials and policymakers of

the Delaware Department of Natural Resources and Environmental Control that its dredging activity created a

latent danger to recreational swimmers at South Bowers Beach and the Murderkill River during tidal changes;

                 (e)      Failed to take reasonable measures to warn recreational swimmers of the dangerous

condition of South Bowers Beach and the Murderkill River;

                 (f)      Failed to take reasonable measures to warn of the risk involved in recreational

swimming at South Bowers Beach and the Murderkill River;

                 (g)      Failed to post warning or notice signs at or on South Bowers Beach prohibiting

recreational swimming at South Bowers Beach near the Murderkill River estuary and the Murderkill River

during tidal changes.

        239.     Defendant Manson Construction Company was grossly or wantonly negligent in failing to

exercise reasonable care to prevent the risk of harm which its dredging activity created to recreational

swimmers from taking effect.

        240.     As a direct and proximate result of the defendant Manson Construction Company’s grossly

negligent and wanton acts, omissions or failures to act, plaintiff Anterine Maple and wrongful death

beneficiaries have been caused to suffer those various injuries, loss and expenses as set forth above.

        WHEREFORE, plaintiff Anterine Maple individually and as Administratrix of the Estate of Kevin

George, Jr. deceased, and the Estate of Zion George prays for judgment against defendant Manson

Construction Company, jointly and severally, and the relief which follows:

        I.       That plaintiff be awarded compensatory damages as proven;

        II.      That plaintiff be awarded exemplary damages as proven;

        III.     That plaintiff be awarded interest and damages for prejudgment delay;

        IV.      That plaintiff be awarded further relief as this Court may deem appropriate.




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                                         COUNT XII
                                      NEGLIGENCE
(Anterine Maple, Administratrix of the Estate of Kevin George, Jr. deceased, and the Estate of
             Zion George, deceased v Kingfisher Environmental Services, Inc.)

            241.   Plaintiff Anterine Maple incorporates by reference the paragraphs above as if set forth herein

 in full.

            242.   At all material times relevant to the subject matter described in this Complaint, defendant

 Kingfisher Environmental Services, Inc. knew or reasonably should have known that the dredging operation

 of the Murderkill River estuary channel undertaken by defendant Kingfisher Environmental Services, Inc. in

 the calendar year of 2015 would alter the tidal force and amplify the velocity of the moment of water during

 tide change at South Bowers Beach near the Murderkill River estuary and the Murderkill River.

            243.   At all material times relevant to the subject matter described in this Complaint, defendant

 Kingfisher Environmental Services, Inc. knew or reasonably should have known that its dredging operations

 of the Murderkill River estuary entrance channel along Delaware Bay undertaken in the calendar year of 2015

 created a dangerous and unreasonable hazard to unsuspecting recreational swimmers at South Bowers Beach

 and the Murderkill River.

            244.   At all material times relevant to the subject matter described in this Complaint, defendant

 Kingfisher Environmental Services, Inc. knew or reasonably should have known that South Bowers Beach

 near the Murderkill River estuary and the Murderkill River would be used for recreational activities, inclusive

 of swimming, during tide changes after completion of its dredging project in 2015.

            245.   At all material times relevant to the subject matter described in this Complaint, defendant

 Kingfisher Environmental Services, Inc. knew or reasonably should have suspected that day-vacationers, such

 as the plaintiff’s decedents, would not discover or realize the dangerous and unreasonable risk of harm which

 the tidal force at South Bowers Beach near the Murderkill River estuary and the Murderkill River presented to

 recreational swimmers at tidal changes.



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        246.     At all material times relevant to the subject matter described in this Complaint, defendant

Kingfisher Environmental Services, Inc. knew or reasonably should have known it was practically certain that

drownings of recreational swimmers would result at South Bowers Beach and the Murderkill River in the

event that no warning or notice signs were posted at or on South Bowers Beach near the Murderkill River

estuary and the Murderkill River alerting beachgoers, such as the plaintiff’s decedents, that the variance in

velocity of the water’s current during the tide change made recreational swimming hazardous.

        247.     At all material times it was apparent that there was an imminent likelihood that drownings

would occur in the event that no warning or notice signs were posted at or on South Bowers Beach near the

Murderkill River estuary and the Murderkill River alerting beachgoers, such as the plaintiff’s decedents, that

the variance in velocity of the water’s current during the tide change made recreational swimming hazardous.

        248.     Defendant Kingfisher Environmental Services, Inc.          owed the plaintiff’s decedents a

common law duty to exercise reasonable care to prevent the risk of harm which its dredging activity created to

recreational swimmers from taking effect.

        249.     Defendant Kingfisher Environmental Services, Inc. breached the duties of care owed to the

plaintiff’s decedents, in the following, but not limited, ways:

                 (a)      Failed to exercise reasonable care to determine whether its dredging activity created a

latent danger to recreational swimmers at South Bowers Beach and the Murderkill River;

                 (b)      Failed to exercise reasonable care to appreciate that its dredging activity created a

latent danger to recreational swimmers at South Bowers Beach and the Murderkill River;

                 (c)      Knew of the latent danger which its dredging activity created to recreational

swimmers at South Bowers Beach and the Murderkill River and with an indifference to the welfare of

recreational swimmers at South Bowers Beach, disregarded the danger;




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                 (d)      Failed to exercise reasonable care to sufficiently warn officials and policymakers of

the Delaware Department of Natural Resources and Environmental Control that its dredging activity created a

latent danger to recreational swimmers at South Bowers Beach and the Murderkill River during tidal changes;

                 (e)      Failed to take reasonable measures to warn recreational swimmers of the dangerous

condition of South Bowers Beach and the Murderkill River;

                 (f)      Failed to take reasonable measures to warn of the risk involved in recreational

swimming at South Bowers Beach and the Murderkill River;

                 (g)      Failed to post warning or notice signs at or on South Bowers Beach prohibiting

recreational swimming at South Bowers Beach near the Murderkill River estuary and the Murderkill River

during tidal changes.

        250.     Defendant Kingfisher Environmental Services, Inc. was grossly or wantonly negligent in

failing to exercise reasonable care to prevent the risk of harm which its dredging activity created to recreational

swimmers from taking effect.

        251.     As a direct and proximate result of the defendant Kingfisher Environmental Services, Inc.’s

grossly negligent and wanton acts, omissions or failures to act, plaintiff Anterine Maple and wrongful death

beneficiaries have been caused to suffer those various injuries and loss and expenses as set forth above.

        WHEREFORE, plaintiff Anterine Maple individually and as Administratrix of the Estate of Kevin

George, Jr. deceased, and the Estate of Zion George prays for judgment against defendant Kingfisher

Environmental Services, Inc., jointly and severally, and the relief which follows:

        I.       That plaintiff be awarded compensatory damages as proven;

        II.      That plaintiff be awarded exemplary damages as proven;

        III.     That plaintiff be awarded interest and damages for prejudgment delay;

        IV.      That plaintiff be awarded further relief as this Court may deem appropriate.




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                          SECOND CAUSES OF ACTION – SURVIVAL ACTION
                                        COUNT XIII
         (Anterine Maple, Administratrix of the Estate of Kevin George, Jr. deceased,
                   and the Estate of Zion George, deceased v Defendants)

         252.      Plaintiff Anterine Maple incorporate by reference the previous paragraphs of the Complaint

as if set forth fully herein.

         253.      Plaintiff Anterine Maple advances this survival action by virtue of Delaware Code, Title 10,

§§ 3701 through § 3708 [relating to Survival Action].

         254.      This civil action is advanced to recover on behalf of the aforementioned statutory

beneficiaries all damages recoverable under the Delaware Survival Act.

         255.      Plaintiff Anterine Maple as the Administratrix of the Estate of Kevin George, Jr. and the

Estate of Zion George, asserts those aforementioned causes of action, as if listed herein, on behalf of the Estate

of Kevin George, Jr. and the Estate of Zion George.

         256.      As a direct and proximate result of the aforementioned intentional, grossly negligent, careless,

and reckless acts, omissions, or failures to act of the defendants, decedents Kevin George, Jr. and Zion George

were caused to suffer emotional and physical pain and suffering prior to their deaths.

         257.      As a direct and proximate result of the aforementioned intentional, grossly negligent, careless,

and reckless acts, omissions, or failures to act of the defendants, decedents Kevin George, Jr. and Zion George

were caused to suffer the loss of net earnings they would have earned between the date of their deaths and

reasonable life expectancies.

         258.      As a direct and proximate result of the aforementioned intentional, grossly negligent, careless,

and reckless acts, omissions, or failures to act of the defendants, decedents Kevin George, Jr. and Zion George

were caused to suffer the loss of retirement and social security income.




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          259.     As a direct and proximate result of the aforementioned intentional, grossly negligent, careless,

and reckless acts, omissions, or failures to act of the defendants, decedents Kevin George, Jr. and Zion George

were caused to suffer the loss of life’s pleasures.

          WHEREFORE, the plaintiff Anterine Maple as the Administratrix of the Estate of Kevin George, Jr.,

deceased and the Estate of Zion George, deceased, prays for judgment against the defendants, jointly and

severally, and the relief which follows:

          I.       That plaintiff be awarded compensatory damages as proven at trial;

          II.      That plaintiffs be awarded exemplary damages;

          III.     That plaintiffs be awarded reasonable attorney’s fees as provided for pursuant to 42 U.S.C.A.

§ 1988;

          IV.      That plaintiffs be awarded the cost of prosecuting this claim as provided for pursuant to 42

U.S.C.A. § 1988;

          V.       That plaintiffs be awarded reasonable expert fees as provided for pursuant to 42 U.S.C.A. §

1988;

          VI.      That plaintiffs be awarded interest and damages for prejudgment delay;

          VII.     That plaintiffs be awarded further relief as this Court may deem appropriate.


                                      COUNT XIV
                   INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                              (Destiny Deluca v Defendants)
          260.     Plaintiff Destiny Deluca incorporates by reference the previous paragraphs of the Complaint

as if set forth fully herein.

          261.     On June 29, 2020, Kevin George, Jr., decedent, proposed marriage to Destiny Deluca.

          262.     At all material times, relevant to the subject matter described in this Complaint, Kevin

George, Jr., decedent, was the fiancé of Destiny Deluca.



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        263.       The defendants created a condition at South Bowers Beach resulting in an unreasonable

danger which increased the risk of death by drowning of recreational swimmers, such as Kevin George, Jr.,

Zion George, Jr., Amir Harris and Destiny Deluca at South Bowers Beach and the Murderkill River.

        264.       At all relevant times the defendants owed plaintiff Destiny Deluca a duty of care to refrain

from acting in an intentional, reckless, or grossly negligent manner which would cause plaintiff Destiny

Deluca to be subject to severe emotional distress.

        265.       The defendants breached the duty of care owed to plaintiff Destiny Deluca by failing to take

reasonable measures to warn of or otherwise safeguard recreational swimmers from the dangerous condition

they created which increased the risk of death by drowning of recreational swimmers, such as the Kevin

George, Jr., Zion George, Jr., Amir Harris and Destiny Deluca at South Bowers Beach.

        266.       On June 30, 2020, as a direct and proximate result of the intentional, reckless, or grossly

negligent actions or omissions of the defendants, plaintiff Destiny Deluca was placed in the immediate area of

physical danger.

        267.       On June 30, 2020, as a direct and proximate result of the intentional, reckless, or grossly

negligent actions or omissions of the defendants, plaintiff Destiny Deluca was caused to have suffered severe

emotional distress and physical consequences.

        268.       On June 30, 2020, as a direct and proximate result of the intentional, reckless, or grossly

negligent actions or omissions of the defendants, plaintiff Destiny Deluca was caused to have witnessed the

drowning death of her fiancé Kevin George, Jr.

        269.       The conduct of the defendants in choosing not to take reasonable measures to warn of or

otherwise safeguard recreational swimmers, such as the plaintiff’s decedent Kevin George, Jr., from the

dangerous condition they created which increased the risk of death by drowning of recreational swimmers is

outrageous in character, and so extreme in degree, as to go beyond all possible bounds of decency, and is to be




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regarded as atrocious, and utterly intolerable in a civilized society.

         270.      The defendants are liable to plaintiff Destiny Deluca pursuant to Restatement (Second) of

Torts § 46.

         WHEREFORE, plaintiff Destiny Deluca prays for judgment against defendants jointly and severally,

and the relief which follows:

         I.        That plaintiff be awarded compensatory damages as proven;

         II.       That plaintiff be awarded exemplary damages as proven;

         III.      That plaintiff be awarded interest and damages for prejudgment delay;

         IV.       That plaintiff be awarded further relief as this Court may deem appropriate.


                                  COUNT XV
         NEGLIGENT INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                         (Destiny Deluca v Defendants)

         271.      Plaintiff Destiny Deluca incorporates by reference the previous paragraphs of the Complaint

as if set forth fully herein.

         272.      At all relevant times, the defendants owed plaintiff Destiny Deluca a duty of care to refrain

from acting in a negligent manner which would cause plaintiff Destiny Deluca to be subject to severe

emotional distress.

         273.      The defendants breached the duty of care owed to plaintiff Destiny Deluca by failing to take

reasonable measures to warn of or otherwise safeguard recreational swimmers from the dangerous condition

they created which increased the risk of death by drowning of recreational swimmers, such as the Kevin

George, Jr., Zion George, Jr., Amir Harris and Destiny Deluca at South Bowers Beach and the Murderkill

River.

         274.      As a direct and proximate result of the negligent actions or omissions of the defendants, on

June 30, 2020, plaintiff Destiny Deluca was placed in the immediate area of physical danger.


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         275.     As a direct and proximate result of the negligent actions or omissions of the defendants, on

June 30, 2020, plaintiff Destiny Deluca was caused to have suffered severe emotional distress and physical

consequences.

         276.     The defendants are liable to plaintiff Destiny Deluca pursuant to Restatement (Second) of

Torts § 436.

         277.     The defendants are liable to plaintiff Destiny Deluca pursuant to Restatement (Second) of

Torts § 313.

         WHEREFORE, plaintiff Destiny Deluca prays for judgment against defendants jointly and severally,

and the relief which follows:

         I.       That plaintiff be awarded compensatory damages as proven;

         II.      That plaintiff be awarded interest and damages for prejudgment delay;

         III.     That plaintiff be awarded further relief as this Court may deem appropriate.


                                     COUNT XVI
                   INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                               (Amir Harris v Defendants)

         278.     Plaintiff Amir Harris incorporates by reference the previous paragraphs of the Complaint as if

set forth fully herein.

         279.     Plaintiff Amir Harris grew up with and was raised in the same household with Kevin George,

Jr., decedent, and Zion George, decedent.

         280.     At all material times relevant to the subject matter described in this Complaint, Amir Harris

had a relationship with Kevin George, Jr., decedent, and Zion George, decedent tantamount to brothers.

         281.     At all relevant times, the defendants owed plaintiff Amir Harris a duty of care to refrain from

acting in an intentional, reckless, or grossly negligent manner which would cause plaintiff Amir Harris to be

subject to severe emotional distress.


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         282.      The defendants breached the duty of care owed to plaintiff Amir Harris by failing to take

reasonable measures to warn of or otherwise safeguard recreational swimmers from the dangerous condition

they created which increased the risk of death by drowning of recreational swimmers, such as the Kevin

George, Jr., Zion George, Destiny Deluca, and Amir Harris at South Bowers Beach and the Murderkill River.

         283.      On June 30, 2020, as a direct and proximate result of the intentional, reckless, or grossly

negligent actions or omissions the defendants, plaintiff Amir Harris was placed in the immediate area of

physical danger.

         284.      On June 30, 2020, as a direct and proximate result of the intentional, reckless, or grossly

negligent actions or omissions the defendants, plaintiff Amir Harris was caused to have suffered severe

emotional distress and physical consequences.

         285.      On June 30, 2020, as a direct and proximate result of the intentional, reckless, or grossly

negligent actions or omissions the defendants, plaintiff Amir Harris was caused to have witnessed the

drowning deaths of his dear friends Kevin George, Jr., decedent and Zion George, decedent.

         286.      The conduct of the defendants in choosing not to take reasonable measures to warn of or

otherwise safeguard recreational swimmers, such as the plaintiff Amir Harris, from the dangerous condition

they created which increased the risk of death by drowning of recreational swimmers is outrageous in

character, and so extreme in degree, as to go beyond all possible bounds of decency, and is to be regarded as

atrocious, and utterly intolerable in a civilized society.

         287.      The defendants are liable to plaintiff Amir Harris pursuant to Restatement (Second) of Torts §

46.

         WHEREFORE, plaintiff Amir Harris prays for judgment against defendants jointly and severally, and

the relief which follows:

         I.        That plaintiff be awarded compensatory damages as proven;




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            II.    That plaintiff be awarded exemplary damages as proven;

            III.   That plaintiff be awarded interest and damages for prejudgment delay;

            IV.    That plaintiff be awarded further relief as this Court may deem appropriate.


                                   COUNT XVII
            NEGLIGENT INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                             (Amir Harris v Defendants)

            288.   Plaintiff Amir Harris incorporates by reference the previous paragraphs of the Complaint as if

set forth fully herein.

            289.   At all relevant times, the defendants owed plaintiff Amir Harris a duty of care to refrain from

acting in a negligent manner which would cause plaintiff Amir Harris to be subject to severe emotional

distress.

            290.   The defendants breached the duty of care owed to plaintiff Amir Harris by failing to take

reasonable measures to warn of or otherwise safeguard recreational swimmers from the dangerous condition

they created which increased the risk of death by drowning of recreational swimmers, such as the Kevin

George, Jr., Zion George, Jr., Destiny Deluca, and Amir Harris at South Bowers Beach and the Murderkill

River.

            291.   As a direct and proximate result of the negligent actions or omissions of the defendants, on

June 30, 2020, plaintiff Amir Harris was placed in the immediate area of physical danger.

            292.   As a direct and proximate result of the negligent actions or omissions of the defendants, on

June 30, 2020, plaintiff Amir Harris was caused to have suffered severe emotional distress and physical

consequences.

            293.   The defendants are liable to plaintiff Amir Harris pursuant to Restatement (Second) of Torts §

436.




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        294.     The defendants are liable to plaintiff Amir Harris pursuant to Restatement (Second) of Torts §

313.

        WHEREFORE, plaintiff Amir Harris prays for judgment against defendants jointly and severally, and

the relief which follows:

        I.       That plaintiff be awarded compensatory damages as proven;

        II.      That plaintiff be awarded interest and damages for prejudgment delay;

        III.     That plaintiff be awarded further relief as this Court may deem appropriate.



                                          Respectfully submitted,

                                  By:     /s/ Steven F. Marino
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Dated: May 25, 2022




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